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                                        IN THE UNITED STATES DISTRICT COURT
                                            FOR THE DISTRICT OF COLUMBIA


                  CENTER FOR BIOLOGICAL
                  DIVERSITY, et al.,

                          Plaintiffs,

                          v.                                             CASE NO. 1:21-cv-00119 (RDM)

                  U.S. ENVIRONMENTAL PROTECTION
                  AGENCY, et al.,

                          Defendants.


                                         DECLARATION OF DIANA UMPIERRE
                I, Diana Umpierre, make the following declaration:

                         1.      I submit this declaration in support of the Sierra Club in the above-

                captioned action.

                         2.      I live in Pembroke Pines, Broward County, Florida, near the Everglades

                and the associated Water Conservation Areas, and have lived here since 2000. I spend a

                considerable amount of time enjoying and trying to help protect the natural environment

                and wildlife in South Florida. I believe our unique ecosystem and wildlife are very

                important to the communities here and for biodiversity in general.

                         3.      Accordingly, I became an active member of the Sierra Club in 2014 to

                help protect and conserve endangered species and natural ecosystems in South Florida.

                         4.      I became an employee of the Sierra Club in June 2016 and since then have

                been serving as an Organizing Representative for the Sierra Club’s Everglades

                Restoration Campaign.




                                                               1
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                         5.      Prior to joining Sierra Club, my experience included working as a

                geoscientist for environmental consulting firms in New Jersey and Florida where I

                provided geographic data analysis of impacts to ecologically sensitive habitats and water

                quality from planned transportation and water/wastewater projects as part of NEPA

                environmental assessments. My experience also includes working as a geographer for the

                South Florida Water Management District where I supported regional water supply long-

                range planning for 16 counties in South Florida, including analysis of geographic data on

                water resources and of land cover over time to determine wetland impacts. I assisted the

                Southeast Florida Regional Climate Change Compact by coordinating with government

                and academic partners in analyzing, mapping, and communicating sea level rise

                vulnerability for four counties in Southeast Florida, including Miami-Dade. I earned my

                Bachelor of Science degree in Geological Sciences from Cornell University in 1990.

                         6.      The Sierra Club is a national non-profit grassroots environmental

                organization with over 700,000 members across the United States dedicated to practicing

                and promoting the responsible use of the earth’s ecosystems and resources; educating and

                enlisting humanity to protect and restore the quality of the natural and human

                environment; and using all lawful means to carry out these objectives. Sierra Club’s

                interests encompass a wide range of environmental issues, including wildlife

                conservation, wilderness preservation, public lands and waters protection, and the

                protection of clean air and water resources. These activities support Sierra Club’s

                mission to explore, enjoy, and protect the wild places of the earth.




                                                              2
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                         7.      The Sierra Club headquarters is in Oakland, California. Sierra Club has

                chapters across the nation, including Florida, with members interested in wildlife and

                wildlife habitats. Most of the Sierra Club chapters include all-volunteer groups, whose

                members work to preserve and protect their area’s natural resources. Sierra Club’s

                Florida Chapter has nearly 5,000 members and focuses on protecting Florida’s unique

                natural wonders, including its springs, wetlands, and endangered wildlife like the Florida

                panther and the Florida bonneted bat.

                         8.      One of the Sierra Club’s main national initiatives, the Our Wild America

                campaign, which includes Everglades restoration efforts, tackles pressing environmental

                problems including global warming and threats to wildlife. Sierra Club has long

                advocated for protections for species under the ESA, and has brought litigation to ensure

                that Federal agencies meet their ESA obligations.

                         9.      My work involves supporting and expanding volunteer-based grassroots

                efforts to promote the restoration of the Greater Everglades ecosystem and the protection

                of its remaining natural wildlife habitats from threats such as water mismanagement,

                development, and sea level rise.

                         10.     As an active member, I have advocated for Everglades restoration, the

                protection of native habitat, and the restoration of natural and clean water flows, which

                are important for healthy wildlife. I also spend time educating people about the

                importance of protecting Florida panther and Florida bonneted bat habitat. I plan to

                continue participating in these activities in the future.




                                                               3
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                         11.     I am also an active member of the International Dark Sky Association and

                have advocated for the protection of the natural nocturnal environment, which is

                important for wildlife, including nocturnal species like fireflies, the Florida panther, and

                the Florida bonneted bat. In 2016, I helped Big Cypress National Preserve become the

                first National Park Service unit east of Colorado to achieve an International Dark Sky

                Place designation, in part because this protection is important for the Florida panther and

                other nocturnal species. I have also been actively engaged in advocating for similar Dark

                Sky Place designations and stronger nocturnal environment protections for other parts of

                the Greater Everglades, including Miami-Dade County, Florida Panther National Wildlife

                Refuge, and Everglades National Park. Therefore, protecting the natural night sky and

                the nocturnal environment of these conservation areas is very important to me.

                         12.     EPA’s approval of Florida’s application to assume control of section 404

                permitting undermines Sierra Club’s mission. Among other failings, Florida has no

                lawful plans to ensure that listed species are adequately protected and analyses of section

                404 permit applications issued by Florida will no longer include review under the

                National Environmental Policy Act (“NEPA”) and consultation under section 7 of the

                ESA, as they would if 404 authority remained with the U.S. Army Corps of Engineers

                (“Corps”) instead.

                         13.     Because section 404 permit applications processed by Florida do not

                undergo a NEPA analysis or site-specific ESA section 7 consultation, these projects are

                subject to a far less rigorous environmental review, which increases the risk of harm to

                listed species and their habitat and harms Sierra Club’s mission.




                                                              4
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                         14.     Florida claimed this permitting program would be easily streamlined with

                their current state environmental resource permitting (“ERP”) program which has

                significant differences and is required for projects that impact surface waters. Florida

                also stated throughout the assumption process that it will process permits faster than the

                Corps has in the past. The harms from this transfer of authority are detailed in an article

                written by Craig Pittman wherein he describes how lobbyists for the developers called

                this handover “the Holy Grail.” See Attachment A. The bottom line is that “super-fast

                permit approvals” prioritize development over our precious wetlands in Florida.

                Organizational and Membership Harms From Particular Projects

                         15.     The state’s 404 program undermines Sierra Club’s ability to realize its

                mission by depriving the organization of information, rights, and remedies available

                when Section 404 is administered by the Corps, as it has been for decades. As a result of

                EPA’s unlawful transfer of 404 authority to the state, the state will continue to issue 404

                permits on major projects that will harm Sierra Club’s organizational interests and my

                interests as a member.

                         16.     A project we are particularly concerned about is the Bellmar development

                project (state 404 application number 0396364-001) in Southwest Florida. Collier

                Enterprises Management, Inc., applied on December 16, 2020, to build the Bellmar

                project in eastern Collier County, Florida, which would encompass over 5,000 acres and

                affect approximately 132 acres of wetlands. The project is located approximately one

                mile from the Florida Panther National Wildlife Refuge, which protects the core habitat

                of the endangered Florida panther. Telemetry data also shows the presence of the Florida




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                panthers on the project site. The proposed development would also impact habitat of the

                endangered Florida bonneted bat and crested caracara. On September 15, 2022, Sierra

                Club submitted public comments to Director Martha Williams of the U.S. Fish and

                Wildlife Service on the threats the development would pose to the Florida Panther. See

                Attachment B.

                         17.     Two additional project proposals that we are particularly concerned about

                are oil drilling projects in Big Cypress National Preserve that, if approved, would pave

                the way for oil drilling and production in the preserve for the next 30 years.

                         18.     Spanning over 700,000 acres, Big Cypress National Preserve is the

                nation’s first national preserve. It is a continuous freshwater ecosystem comprised of five

                habitats that are connected by the water that flows through them, and it is replenished

                entirely by rainwater. The water flows from the hardwood hammocks to the pinelands,

                across the prairies, into the cypress swamps, and then into the estuaries that flow to the

                Gulf of Mexico. The freshwaters of Big Cypress are crucial to the health of the

                neighboring Everglades and critical to the wildlife that inhabits it. Big Cypress provides

                habitat for various listed species and has the largest contiguous acreage of habitat for the

                endangered Florida panther in south Florida.

                         19.     For the first proposed Big Cypress project I am concerned about, the

                Nobles Grade Prospect (previous state 404 application number 323836-004), Burnett Oil

                Co., Inc., applied on January 21, 2021, to construct an oil drilling pad for three vertical

                wells and an access road in Big Cypress National Preserve for the purposes of oil




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                drilling. 1 On February 22, 2022, the applicant withdrew this proposal for this project but

                stated it would resubmit its application pending further project development. The project

                as originally proposed would cover 21.21 acres and would result in the filling of 85,000

                cubic yards of wetlands in Big Cypress. The proposed area is located approximately

                three miles southwest of the rest stop at Interstate 75 mile marker 63. This rest stop

                serves as an access point to hiking trails that go directly into the backcountry of Big

                Cypress. 2

                         20.     Big Cypress National Preserve provides habitat for threatened and

                endangered species. Endangered Species Act-listed species observed or potentially

                occurring within or near the Nobles Grade proposed project area include the following:

                the American alligator, eastern indigo snake, Everglade snail kite, wood stork, red-

                cockaded woodpecker, crested caracara, and the Florida panther.

                         21.     For the second proposed Big Cypress project I am concerned about, the

                Tamiami Prospect (previous state 404 application number 397879-002), Burnett Oil Co.,

                Inc., applied on January 21, 2021, to construct an oil drilling pad and an access road in

                Big Cypress National Preserve at the eastern boundary of the Preserve for the purposes of

                oil drilling. On February 22, 2022, the applicant withdrew this proposal as well, and

                again stated it would resubmit its application pending further project development. The




                1
                  Burnett Oil’s ERP / State 404 Application for Nobles Grade Prospect, available at
                https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
                documents/ST404_323836/gis-facility!search .
                2
                  National Park Service, Big Cypress, I-75 Mile Marker 63, see
                https://www.nps.gov/bicy/planyourvisit/i-75-mm-63.htm .



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                area would cover 10.99 acres and would result in the filling of 46,000 cubic yards of

                wetlands in Big Cypress.

                         22.     Endangered Species Act-listed species observed or potentially occurring

                within or near the Tamiami proposed project area include: the American alligator, eastern

                indigo snake, Everglade snail kite, wood stork, red-cockaded woodpecker, crested

                caracara, Florida bonneted bat, and the Florida panther.

                         23.     On February 3, 2021, several conservation groups sent a letter to the

                Florida Department of Environmental Protection (“FDEP”) raising concerns about the

                impacts of the proposed projects. I have reviewed this letter and incorporate it in this

                declaration, see Attachment C, because I share the same concerns regarding these oil

                projects.

                         24.     For example, not included and fully analyzed in Burnett Oil’s applications

                are the scope of activities attendant to oil development and drilling and their impacts such

                as development activities associated with access roads, staging areas and seismic

                operations, and construction of gathering, transmission, and distribution pipelines.

                         25.     Because Big Cypress National Preserve is a continuous ecosystem

                connected by the flow of freshwater, any disruption to this flow from the oil projects

                would lead to still or stagnant water directly north and south of the site, altering and

                disturbing the natural environment on which plant and animal species depend. Similarly,

                pollution at one location in Big Cypress will affect the remaining habitats to which that

                water flows, thereby threatening water quality downstream and in turn, threatening the

                species that rely on this habitat.




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                         26.     Aside from disruptions to the flow of water and the threat of

                pollution/water quality degradation, the construction and operation of oil drilling

                infrastructure will negatively impact the species within the vicinity of the projects.

                Birds and other wildlife will be forced to flee as a result of the noise, artificial light at

                night, ground vibration, the presence of machinery, vehicles, and humans, and other

                attendant circumstances. Animals that cannot get away risk injury from construction

                and operation activities.

                         27.     Burnett Oil’s proposed projects are particularly concerning in light of the

                harmful impacts from previous seismic exploration activities in Big Cypress National

                Preserve in 2017 and 2018, when Burnett Oil utilized Vibroseis (seismic vibration

                technology) to send signals into the earth to locate subsurface oil and natural gas deposits

                within Big Cypress. This seismic exploration took place over approximately 110 square

                miles of the Preserve and resulted in significant environmental damage that is still present

                today. The damage included severely altered and rutted wetland soils; removal of dwarf

                cypress trees, which provide roosting sites for birds and other wildlife above high water

                levels; significantly diminished vegetation groundcover; the presence of dwarf pond

                cypress tree stumps that are not re-sprouting and the absence of seedlings for these trees;

                and uneven ground elevations as a result of the company’s reclamation attempts, among

                other harms.

                         28.     Big Cypress is not suitable for any oil exploration or drilling because of

                ecological importance and sensitivity, as well as the damage already caused by those

                activities to this preserve and the protected species that rely on it. So even if the projects




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                are modified, similar activities will harm our organizational and my membership

                interests.

                         29.     Another concerning project is the State Road 836 (Dolphin Expressway)

                Extension (state 404 application number 13-396515-001-SFI). On March 26, 2019, the

                Miami-Dade Expressway Authority submitted its initial 404 permit application to the

                Corps (SAJ-2018-01778 (SP-MLC)). That 404 permit application was transferred from

                the Corps to the state (FDEP) on or about December 28, 2020, a few days after state

                assumption became effective. On August 20, 2021, the applicant withdrew this proposal

                for this project stating as reason that “the State 404 authorization cannot be issued until

                the [Environmental Resource Permit] has been issued,” suggesting that the 404

                application would be resubmitted once the applicant completed a “pre-permit application

                process with the FDEP.”        See Attachment D.

                         30.     While the application was under Corps jurisdiction, on May 22, 2019, the

                Corps issued a Public Notice “soliciting comments from the public; Federal, State, and

                local agencies and officials; Indian Tribes; and other Interested parties in order to

                consider and evaluate the impacts of this proposed activity.” 3

                         31.     On July 26, 2019, the Everglades Coalition, comprised of over 60

                organizations committed to the health and protection of America’s Everglades, including

                Sierra Club, submitted comments to the Corps opposing the proposed 404 permit, see

                Attachment E.


                3
                 U.S. Army Corps of Engineers public notice SAJ-2018-01778(SP-MLC), available at
                https://www.saj.usace.army.mil/Missions/Regulatory/Public-
                Notices/Article/1855244/saj-2018-01778sp-mlc/ .



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                         32.      Furthermore, in a letter sent to Governor DeSantis on June 24, 2020, the

                Everglades Coalition asked him to uphold a recent ruling by Florida Administrative Law

                Judge Suzanne Van Wyk, which held that the Miami-Dade County Comprehensive Plan

                Amendment adopted by Miami-Dade County via Ordinance 2018-109 on September 27,

                2018, that would allow for the proposed highway extension, demonstrated inconsistency

                with Everglades restoration efforts, with Miami-Dade County’s Comprehensive

                Development Master Plan, and with state law. See Attachment F.

                         33.     This project’s purpose is to construct a 14-mile toll road extending the

                current Dolphin Expressway. 4 The project will consist of a six-lane toll road extending

                State Road (SR) 836 through jurisdictional wetlands within the Comprehensive

                Everglades Restoration Plan’s (CERP) footprint. The project would result in the filling

                of 360 acres of wetlands and secondary impacts to almost 100 acres of wetlands located

                in the Bird Drive and North Trail Wetland Basins which are adjacent to the Everglades

                National Park. These basins have been set aside as a water quality, water seepage, and

                habitat buffer for the Park. Freshwater wetlands are essential to the region for water

                quality and wildlife benefits.

                         34.     Everglades National Park spans 1.5 million acres that stretch over the

                southern part of Florida and is home to a vast diversity of plants and wildlife across

                different ecosystems: freshwater sloughs, marl prairies, tropical hammocks, pinelands,

                cypress, mangrove, coastal lowlands, marine, and estuarine. The State Road 836


                4
                 Miami-Dade Expressway Authority State 404 related documents are available at
                https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
                documents/ST404_396515/gis-facility!search .



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                Extension project would impact the progress made and on-going efforts to restore water

                flows and quality, fragile ecosystems, and natural resources within the Everglades

                National Park.

                         35.     In an August 23, 2019 letter to the Corps, the EPA voiced concerns and

                stated that the road extension project “may have substantial and unacceptable adverse

                secondary impacts to the Greater Everglades wetland ecosystem and direct impacts to

                350 acres of freshwater wetlands located in the Bird Drive Basin and within

                Congressionally authorized CERP project boundaries that are an ARNI [aquatic resource

                of national importance].” 5 In a subsequent letter on September 16, 2019, the EPA once

                again expressed its concerns and that it had “received no additional information from the

                Corps to address these concerns” and that "the EPA finds that the proposed project will

                have a substantial and unacceptable impact on aquatic resources of national importance.”

                         36.      According to the Corps’ May 2019 public notice, there are several listed

                species that may use the wetlands that would be affected if the SR 836 extension 404

                permit is granted, including the wood stork, the Eastern indigo snake, and the Florida

                bonneted bat.

                         37.     I am personally and professionally very worried about the federally

                endangered Florida bonneted bat, the largest bat in Florida. On June 10, 2020, the U.S.

                Fish and Wildlife Service proposed critical habitat that includes part of the footprint of




                5
                 U.S. Environmental Protection Agency letter to Army Corps of Engineers, August 23,
                2019, available at https://prodenv.dep.state.fl.us/DepNexus/public/electronic-
                documents/ST404_396515/gis-facility!search .



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                the proposed highway project. 6 I am very concerned that SR 836 extension will induce

                more traffic that would affect the wetlands and water quality, and invite more

                development. All of which will cause harm to the listed species in this area impeding

                Sierra Club’s mission and my personal use and enjoyment of this area. Several likely

                consequences include increased bird and snake road fatalities as this area is very close to

                a water conservation area and wildlife management area within the Everglades Protection

                Area. I am also very concerned about a substantial increase of light pollution in nearby

                conservation areas that may come from new artificial lighting on the highway and

                associated infrastructure, including exit interchanges and parking areas. Increased noise

                will likely also affect listed species that may be present in this area.

                         38.     All of these projects are particularly concerning to me, because I love and

                enjoy visiting the Everglades Protection Area, Everglades National Park, and Big

                Cypress National Preserve. Over the years I have visited many preserves, but Big

                Cypress National Preserve is still my most beloved and I visit about four times a year. I

                also thoroughly enjoy visiting Everglades National Park, which I visit about two to four

                times a year. During my visits, I typically hike, observe the flora and fauna, stargaze, and

                take photographs. I enjoy recreating in nature to keep myself healthy, and to observe

                wildlife. I enjoy getting outdoors to experience the unique environment and native

                wildlife, including opportunities to see or hear the Florida panther and Florida bonneted




                6
                 Endangered and Threatened Wildlife and Plants; Designation of Critical Habitat for
                Florida Bonneted Bat, 50 C.F.R. § 17 (2020), available at
                https://www.govinfo.gov/content/pkg/FR-2020-06-10/pdf/2020-10840.pdf#page=1 .



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                bat, of South Florida. I have plans to continue regularly visiting Big Cypress National

                Preserve and Everglades National Park as well.

                         39.     I also attend night education events hosted by park rangers at Big Cypress

                National Preserve. I always look for panthers and fireflies when I am out at night. I plan

                to continue these activities in the future.

                         40.     It is important to me to see the natural environment of South Florida

                preserved in a way that will maintain the integrity of the ecosystem. My personal

                enjoyment of the ecosystem and natural areas in which I recreate will diminish

                significantly if the ecosystem and species like the panther are harmed. For example,

                panthers are critical to supporting and maintaining the health of the South Florida

                ecosystem. Without the panther, or with fewer panthers in the wild, there will be a

                domino effect on the ecosystem and its biodiversity. This substantial alteration of the

                native ecosystem will fundamentally change the character and way of life in and around

                South Florida, adversely affecting my use and enjoyment.

                Organizational Harms from Waters Excluded from the Retained Waters List

                         41.     Members of the Sierra Club reside in nearly every corner of the state and

                our members enjoy, explore, and do everything they can to protect the water bodies in

                their local regions.

                         42.     On April 16, 2018, Sierra Club sent a letter to then-District Commander

                Jason A. Kirk of the Jacksonville District Corps of Engineers, demanding that “the Corps

                completely rectify its inventory of Florida’s navigable waters before any actions take

                place concerning the assumption of delegation of Section 404 dredge and fill permitting




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                authority by Florida’s Department of Environmental Protection.” Our well-founded

                concern was then, and is now, that many of the water bodies left off the current Retained

                Waters List will be further imperiled by FDEP’s failure to provide them protection under

                an adequate 404 permitting system.

                         43.     The following water bodies are a sample of water bodies that are

                ecologically and/or recreationally significant to our members, and which were excluded

                from the Corps’ 2020 Retained Waters List but had been present in the 2017 version of

                the same list:

                         44.     The Alapaha River (Hamilton County), is a tributary of the Suwannee

                River that is impacted by the Hamilton phosphate mining district. Near Jennings,

                Florida, the Alapaha drains into a sinkhole into the Floridan Aquifer. That aquifer

                supplies drinking water to more than 90 percent of people in northeast and east-central

                Florida. This aquifer system underlies an area of about 100,000 square miles in southern

                Alabama, eastern and southern Georgia, southeastern Mississippi, southern South

                Carolina, and all of Florida. The Alapaha River and its water trail, 7 like the Suwannee

                River, is a treasured, popular spot for recreation (fishing, paddling, outings, and camping)

                for our members.

                         45.     Several other waterways are imperiled by industry activity and are at

                further risk with 404 permitting in the hands of the state. Deep Creek (Duval and Baker

                counties), near U.S. Route 301, runs behind and receives runoff from the Chemours mine



                7
                 Georgia River Network, Alapaha River Water Trail, https://garivers.org/alapaha-river-
                water-trail/.



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                dump. Water Oak Creek (Bradford County) is also a repository for wastewater from the

                Chemours mine. Our members have experienced and witnessed skin burns from contact

                with the water in Water Oak Creek that feeds into Lake Rowell and Lake Sampson via

                Alligator Creek (see below).

                         46.     Deep Creek (Suwannee County) receives phosphate waste from the

                Nutrien White Springs Phosphate plant and flows into the Suwannee River.

                         47.     Swift Creek (Hamilton and Suwannee counties) receives phosphate waste

                from the Nutrien Swift Creek processing plant.

                         48.     Turkey Creek (Baker County) receives mining discharge from the

                Chemours mine and the City of McClenny sewage treatment system.

                         49.     Horse Creek (Hardee and DeSoto counties) is surrounded in Hardee

                County by existing phosphate mines and is threatened by a new phosphate mine proposal

                from Mosaic in DeSoto County. 8 Horse Creek in Hardee County flows within and south

                of phosphate mines. Horse Creek is the largest tributary of the Peace River and begins at

                the “Four Corners,” where the counties of Hillsborough, Manatee, Polk and Hardee meet

                in the heart of phosphate mining territory.

                         50.     Peace River (Polk, Hardee, DeSoto, and Charlotte counties) is vital to

                maintain the delicate salinity of Charlotte Harbor, which hosts several endangered species

                including the smalltooth sawfish. Phosphate strip mining and fertilizer processing




                8
                 The Mosaic Company, DeSoto County Project,
                https://mosaicfloridaphosphate.com/communities/desoto-county/desoto-project/.



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                continue to threaten this river. DeSoto County is under the threat of phosphate mining by

                Mosaic, the nation’s largest producer of fertilizer.

                         51.     Peacock Slough (Suwannee County) is in Wes Skiles Peacock Springs

                State Park, which has two major springs, a spring run, and six sinkholes. Many of our

                members recreate at this site (hiking, swimming, cave diving, and picnicking).

                         52.     Ichetucknee River (Columbia County) flows through the Ichetucknee

                Springs State Park – an area of high ecological and recreational value to our members

                (paddling, tubing, etc.). The Ichetucknee is imperiled by nutrient pollution that fuels the

                harmful algae that now chokes its once-pristine waters, in addition to the over-pumping

                of groundwater.

                         53.     Santa Fe River (Columbia, Suwannee, Bradford, Baker, Union, Gilchrist,

                and Alachua counties) flows underground in O’Leno State Park through an intricate cave

                system, emerges in River Rise Preserve State Park, and empties into the Suwannee River;

                this river sink/river rise system in O’Leno is the largest swallet-to-resurgence system in

                Florida. Gilchrist Blue, Ginnie, Hornsby, Lily, Poe, and Rum Island springs are some of

                the 36 named springs and numerous smaller springs along the banks of or submerged by

                the river. The headwaters of the river are Lake Santa Fe, near Keystone Heights.

                         54.     The Santa Fe River, its springs, and its tributaries, play a major role in the

                recreational (spring hopping, paddling, camping, and fishing) lives of our members. The

                Santa Fe is also threatened by development in its sizable watershed. The following Santa

                Fe River tributaries are also missing from the retained waters list: New River (Union and

                Bradford counties), the largest of the Santa Fe River tributaries, is near significant




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                phosphate deposits and was threatened by the HPS II phosphate mining project proposal,

                which would have mined over 7,400 acres across Union and Bradford counties. We

                expect that additional mining proposals will arise because Julian Hazen, who worked for

                the Florida Industrial and Phosphate Research Institute, is quoted in media as stating that

                because the United States is low on phosphate rock “[s]omeday, this deposit will be

                mined. . . [w]hether it’s 5 years from now or 20 years from now.” 9

                         55.     Alligator Creek (Bradford County) receives discharges from the Chemours

                mine, and it feeds several local waterways. It was once a beautiful paddling spot that has

                become a polluted drainage ditch. Braggs Branch (Bradford County), just south of

                Brooker, is also impacted by mining. New River is part of the Santa Fe River Basin that

                spans nine counties including parts of Alachua, Gilchrist, Suwannee, Columbia, Union,

                Bradford, Baker, Clay, and Putnam. This watershed is an important recharge area for the

                Floridan Aquifer; Olustee Creek (Washington County) and Sampson River (Bradford

                County) are also tributaries of the Santa Fe River.

                         56.     Silver River (Marion County) is a seven-mile run from the outflow from

                Silver Springs State Park to a confluence with the Ocklawaha River. While it still

                provides a breathtaking scenic experience for those in canoes or kayaks, and is a popular

                and beloved destination for our members, it is now choked with algae. The iconic glass-

                bottomed boats on the river show a vastly different river bottom from that of 50 years

                ago. The Silver River is further threatened by the River Creek RV Resort project (State



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                 Molly Minta, WUFT News, What’s Mine Is Yours, available at
                https://projects.wuft.org/peakflorida/whats-mine-is-yours/



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                404 Program Permits: 671124). The River Creek RV Resort is a proposed 385 Site

                Recreation Vehicle Resort on 160.76 Acres located near the confluence of the Silver and

                Ocklawaha rivers.

                         57.     Hendry Creek (Lee County) is located within Caloosahatchee River Basin

                and was designated as impaired in FDEP’s implementation of its Impaired Waters

                Rule. It runs through the Hendry Creek neighborhood in South Ft. Myers.

                         58.     Hickey Creek (Lee County) runs through the Hickey Creek Mitigation

                Park, a popular hiking, paddling, and birding location for our members. The creek’s

                ecosystem supports the threatened Florida Scrub-Jay and gopher tortoises.

                         59.     Powell Creek (Lee County), a tributary of the Caloosahatchee River, runs

                through Powell Creek Preserve and is a popular recreation spot for our members and their

                families for walking, biking, and viewing wildlife, including pileated woodpeckers and

                gopher tortoises. The endangered gopher tortoise is a keystone species; it shares its

                burrows with more than 350 other species.

                Organizational Harms from the State Program

                         60.     The state’s administration of this unlawful section 404 program prevents

                Sierra Club from being able to monitor and engage in proposed permits to the same

                degree that the federal program afforded us.

                         61.     To start, we do not have the same access to basic information about 404

                applications open for public comment under the state program that we were readily able

                to obtain from the Corps. As a staff member, I would regularly review 404 public notices

                from the Corps and forward those to Sierra Club groups located throughout the state.




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                Those groups would then use the information to identify projects of concern, help set

                their advocacy priorities, and prepare members to engage in advocacy, particularly during

                the comment period. Sierra Club used this information also to monitor development

                pressures and trends so that we could tailor our advocacy around those.

                         62.     The state program, however, does not provide this information in an

                accessible manner. The state has an email subscription service, called Permit Application

                Subscription Service (PASS), that provides a periodic email that lists different permit

                applications they received for processing. However, that service does not email public

                notices of 404 permits applications open for public comment. This unduly burdens Sierra

                Club’s ability to get prompt information about 404 permits open for public comment,

                which I do get by email from USACE for any 404 individual permit application open for

                public comment to the Corps from anywhere in Florida. Prompt access is important

                because 404 permits typically only have a 30-day public comment period and a limited

                timeframe for Sierra Club and any member of the public to request a public hearing. We

                cannot do this promptly or effectively to advocate against harmful 404 projects. We are

                required to divert resources to try to find the pertinent information, and to do so in time to

                notify local Sierra Club groups that may be most concerned, and to ensure they have the

                opportunity to review the application and engage in advocacy before it is too late. Each

                of the six FDEP local district posts its 404 public notices on their own separate district

                web pages. There is no easy means to subscribe to a single email distribution list that

                automatically informs me when a 404 permit application is open for public comment. It is

                onerously burdensome, and often not possible, to check six different FDEP district web




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                pages, every single day, to see if there any 404 permit applications that might be of

                concern to our Sierra local groups. That is just one example of how the State’s

                assumption of 404 permit is hurting our ability to protect our waters.

                         63.     Without being able to receive public notices in a timely, orderly manner as

                we had before, we are unable to forward that information in a timely way to Sierra Club

                groups, and they and we as a result are hindered in our ability to track trends in

                development that may collectively require coordinated advocacy. This harms our ability

                to execute our mission.

                         64.     As an organization, we also heavily rely on federal review and analyses of

                projects that affect wildlife, land conservation, climate, and water. We act on them as

                needed depending on the impacts of the proposed project. We utilize information

                required under NEPA, the ESA, and the Clean Water Act to review permit applications.

                These federal analyses also provide a common baseline for issues, from which we can

                assess proposed agency actions and their environmental impacts.

                         65.     Because the state program is in place, we are losing all of the protections

                that the federal law allows. This means that there will be no federal analysis or comment

                process on state 404 projects and permits. As an organization, we do not have the ability

                to take on every advocacy effort so we rely on that federal review to evaluate those

                projects for our members and Florida’s environment.

                         66.     Our organization is significantly harmed without these federal analyses

                because we must hire our own experts in an attempt to assess and understand the impacts

                of agency actions. Experts cost thousands of dollars per case, we are longer able to




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                review and act on proposals or projects at the rate we normally do. The loss of

                information from these analyses results in additional staff time to triage permits to

                identify harms to the listed species and their habitats and additional costs in hiring

                experts. As a result, our conservation advocacy work is significantly hindered.

                         67.     One of the main tools Sierra Club uses to protect species, their habitats,

                and waters is the public commenting process. When there is a proposed agency action,

                we review the applications and documents; determine the scope and effect it would have

                on the wildlife and waters we seek to protect; review the geographic information and

                maps that allow us to visually understand the affected geographic environment; review

                wetland impacts and potential means to avoid, minimize, and mitigate those impacts;

                review applicable rules and laws; and submit comment letters.

                         68.     Under the Florida’s 404 program, however, this public commenting

                process has become significantly more difficult, harming the advocacy of our members

                and volunteers. First, the state provides far less information about projects than the

                federal process does. Second, FDEP has moved the online public commenting process to

                the FDEP Nexus Business Portal, which requires commenters to provide their personal

                information including address and phone number to register for an account before

                allowing them to submit public comments. This onerous system discourages public

                comments in Sierra Club’s grassroots campaigns, to the detriment of our organizational

                mission and to members concerned with harmful projects.

                         69.     The loss of critical information and procedural safeguards afforded by

                NEPA and the ESA significantly sets back our ability to advocate for and protecting




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                water resources, species and their habitats. As the pending 404 project applications

                discussed above demonstrate, these losses are caused by Florida’s assumption of the 404

                program. Furthermore, for any of the projects which Sierra Club would challenge

                through litigation, a tool employed by our organization, it is guaranteed that Sierra Club

                will either have to divert significant resources to engage in state court litigation, or forego

                litigation completely, damaging our organizational mission.

                         70.     The state’s unlawful assumption also hinders in other ways our ability to

                litigate over illegal section 404 permitting actions, when necessary. Sierra Club

                challenges 404 permits in federal court as one of our advocacy tools to further our

                mission, and we are harmed by the loss of federal court as a venue as a result of Florida

                assuming the 404 program because it is much more difficult and expensive to bring these

                challenges in Florida’s state courts.

                         71.     It is my understanding that there is a higher bar to establish standing in

                Florida state court because we are required to show that a substantial number of our

                members will be affected by the challenged action, while in federal court we are only

                required to show that a single member is adversely affected. It is also my understanding

                that Sierra Club risks exposure to mandatory “fee-shifting” which creates the risk of

                liability for the opposing parties’ costs and fees to engage in litigation. We are not

                exposed to this same risk in federal court, where the Corps is the section 404 permitting

                agency. The risk of incurring these substantial costs and fees results in our inability to

                challenge illegal permit authorizations in Florida that would cause serious harm to

                threatened and endangered species, even if our claims are strong.




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                         72.     With assumption, there is now an entirely different legal scheme to

                challenge wetlands permitting in Florida, through the Division of Administrating

                Hearings (“DOAH”). Because legal proceedings in front of DOAH are conducted from

                scratch and are not treated as administrative record review cases, Sierra Club will have to

                incur considerable expense to hire expert witnesses to bring a legal challenge. Expert

                witnesses cost upwards of thousands of dollars to retain on a case, which is thousands of

                dollars Sierra Club would have to divert from other programmatic goals if we did not

                have to litigate in state court. In state court, we also would not have the benefit of

                environmental analyses and administrative records around which we can build our cases

                that federal NEPA and ESA processes afford. Rather, in state court, we would have to

                build our cases from the ground up, conducting our own investigations and hiring our

                own expert witnesses. A case before DOAH can easily run upwards of several hundreds

                of thousands of dollars, factoring in expert witnesses, attorneys’ fees, and time. As an

                organization, we do not have the ability to take on every advocacy effort so we rely on

                that federal review to evaluate those projects for our members and Florida’s environment.

                         73.     The lack of procedural safeguards, and in turn, a weaker system for

                evaluating and testing the environmental impacts of permitting, also significantly

                increase the risk of harms to Florida’s water resources, species, and their habitats,

                environmental harms that are felt personally by me as a member of Sierra Club. I

                regularly partake in outdoor activities such as hiking, camping, observing wildlife,

                stargazing, and nature photography. Some of the areas that I like to visit include, but are

                not limited to, Everglades National Park, Big Cypress National Preserve, Fakahatchee




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                Strand Preserve State Park, Florida Panther National Wildlife Refuge, Corkscrew Swamp

                Sanctuary, Fisheating Creek, Okaloacoochee Slough State Forest and Spirit of the Wild

                Wildlife Management Area, and several state, county and municipal-owned natural areas

                in South Florida.

                         74.     Sierra Club is and will continue to be irreparably harmed in its ability to

                carry out its mission of protecting native and endangered species, their habitats, and

                waters if Florida is allowed to continue operating this unlawful 404 program.

                Redressability

                         75.     A ruling in Plaintiffs’ favor in this litigation would redress Sierra Club’s

                and my harms. A ruling on our Clean Water Act claims invalidating EPA’s approval of

                Florida’s program would restore 404 authority over assumable waters to the Corps,

                restoring ESA Section 7 and NEPA review to projects (and the essential information and

                analyses that those processes generate), and ensuring that all requirements of federal law

                are met and can be enforced in federal court.

                         76.     A ruling in Plaintiffs’ favor on our ESA claims would redress Sierra

                Club’s and my harms by invaliding EPA’s approval of the state program; requiring EPA

                to reinitiate consultation with USFWS (and to consult with NMFS) to fully consider the

                effects of Florida’s application on listed species and critical habitat; require the wildlife

                agencies to produce legally sufficient biological opinions that properly analyze the

                impact to listed species and critical habitat, set limits on incidental take, and impose

                reasonable and prudent measures and triggers for reinitiation that are protective under the




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                ESA; and prohibit EPA, the state, and state permittees from receiving incidental take

                coverage from an unlawful “technical assistance” process.

                         77.     A ruling in Plaintiffs’ favor on the Retained Waters List would invalidate

                EPA’s approval of the state program, set aside the Corps’ inadequate retained waters list,

                prevent state 404 permitting on waters required to remain under the Corps’ jurisdiction,

                require EPA to ensure that no non-assumable waters are placed under state 404 authority,

                and require re-evaluation of the Corps’ list to comply with federal law..

                         I declare under penalty of perjury under the laws of the United States of America

                that the foregoing is true and correct.
                                         27
                         Executed this ______ day of February 2023, at Pembroke Pines, Florida.
                         .


                                                                      ________________________
                                                                      Diana Umpierre




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September 15, 2022                                                               sent via email

Director Martha Williams
U.S. Fish and Wildlife Service
1849 C. St. NW
Washington DC, 20240

State Supervisor Larry Williams
U.S. Fish and Wildlife Service
1339 20th Street
Vero Beach, FL 32960

Regional Administrator Daniel Blackman
U.S. Environmental Protection Agency
61 Forsyth Street SW
Atlanta, GA 30303

Secretary Shawn Hamilton
Florida Department of Environmental Protection
3900 Commonwealth Blvd. MS 49
Tallahassee, FL 32399

Director Eric Sutton
Florida Fish and Wildlife Conservation Commission
620 S. Meridian St.
Tallahassee, FL 32399

Re: Bellmar Development Application (Collier County) and Public Notice, #396364-001

Dear Director Williams, State Supervisor Williams, Regional Administrator Blackman, Secretary
Hamilton, and Director Sutton:

On behalf of our respective organizations and our members, the Center for Biological Diversity,
Conservancy of Southwest Florida, and Sierra Club are providing comment on the Bellmar
project proposal that is being sought under the Florida Department of Environmental Protection
(FDEP) state assumed 404 program (application #396364-001). This letter supplements our prior
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                                                                           Bellmar 404 Application 396364-001
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correspondence on both the Bellmar project, as well as our comments provided regarding the
Eastern Collier Multiple Species Habitat Conservation Plan (ECMSHCP). Please consider this
letter as a request that FDEP hold a public meeting,1 as well as a request that the US
Environmental Protection Agency also hold a public meeting.2

We oppose authorization of this project and are asking you to deny the request for a section 404
permit because it will have unacceptable direct, indirect, and cumulative impacts on endangered
and threatened species, wetlands, and other natural resources. This controversial project is within
a flowway and key wildlife corridor, would directly impact over 1,700 acres, and is only
approximately one mile away from the Florida Panther National Wildlife Refuge (FPNWR).

Further, it is apparent that the project will not meet the “no jeopardy” requirement of the
Endangered Species Act and the state 404 permitting program, not only due to habitat loss,
infringement of wildlife corridors, and indirect impacts on adjacent preserves, but also due to the
impacts of traffic and transportation needs resulting from the Bellmar project, particularly in
concert with cumulative impacts that are reasonably foreseeable.

Not only does Bellmar fail to meet the criteria for permit issuance under rule 62-331 F.A.C. and
other requirements of Florida’s state assumed 404 program, but it also would be inconsistent
with the Endangered Species Act (ESA).

I.       Bellmar Cannot Be Authorized Absent an Affirmative Demonstration that the
         Effects of the Authorization, Considered with Regard to Cumulative Effects, Are
         Not Likely to Jeopardize the Florida Panther

ESA Section 7 requires that “[e]ach Federal agency shall . . . insure that any action authorized,
funded, or carried out by such agency . . . is not likely to jeopardize the continued existence of
any endangered species or threatened species or result in the destruction or adverse modification
of [critical] habitat of such species.”3 When EPA decided to allow FDEP to take over the 404
permitting, it relied on a programmatic Biological Opinion to purportedly satisfy its duties under
ESA Section 7 to ensure against jeopardy.4 Rather than analyze the impacts to species from
EPA’s decision, which included the effects of the permitting that would occur under the State
404 Program, that programmatic Biological Opinion relied on a structured process for technical
assistance whereby the analysis would occur at the State program permitting stage instead, and
would comply with the terms in the programmatic Biological Opinion, deferring the actual
analysis of jeopardy. To comply with the programmatic Biological Opinion, the agencies must
now consider all the indirect, direct, and cumulative effects of Bellmar and other reasonably
foreseeable development to ensure the project will not jeopardize listed species, including the
Florida panther. As outlined below, because these effects, when added to the environmental
baseline, are likely to jeopardize the Florida panther, the agencies cannot authorize Bellmar.



1 62-331.060, Florida Administrative Code.
2 62-331.052, Florida Administrative Code.
3 16 U.S.C. § 1536(a)(2).
4 CSWF, CBD, Sierra Club and others are currently challenging the lawfulness of that approach in court, and in no

manner waive the claims, issues, or arguments raised in that litigation.




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    A. The agencies must consider the impact of the Bellmar project with the cumulative
       effects of other reasonably foreseeable development that will be authorized under
       the State 404 program and will affect ESA-listed species and habitats in the areas
       affected by the Bellmar project.

The “no jeopardy” conclusion in the Biological Opinion for EPA’s approval of the Florida State
404 program (404 Programmatic BiOp) relies on the “structured process” established pursuant to
the Memorandum of Understanding (MOU) between FDEP, the Florida Fish and Wildlife
Conservation Commission (FWC), and the U.S. Fish and Wildlife Service (FWS) to avoid
jeopardy,5 which characterizes that structured process as being “as protective” as ESA section 7
consultation.6 For that to be the case, the jeopardy determination for any given permit would
have to consider the effects of the permitted activity cumulatively with other reasonably
foreseeable non-federal actions, which here would necessarily include other reasonably
foreseeable State 404 permits affecting the same area affected by the permit at issue.

An ESA section 7 analysis of effects would require consideration of cumulative effects. ESA
regulations state, “Cumulative effects are those effects of future State or private activities, not
involving Federal activities, that are reasonably certain to occur within the action area of the
Federal action subject to consultation.”7 “Action area means all areas to be affected directly or
indirectly by the Federal action and not merely the immediate area involved in the action.”8
Effects include “all consequences to listed species or critical habitat that are caused by the
proposed action, including the consequences of other activities that are caused by the proposed
action.”9 “A consequence is caused by the proposed action if it would not occur but for the
proposed action and it is reasonably certain to occur. Effects of the action may occur later in time
and may include consequences occurring outside the immediate area involved in the action.”10

With regard to how cumulative effects will be considered in making the effects determinations
pursuant to the “structured process,” the 404 Programmatic BiOp states: “The USFWS
evaluation of the likelihood that a permit action may jeopardize a species or adversely modify
critical habitat will take into account the effects of any unrelated non-federal actions occurring in
the project area, similar to the way a cumulative effects analysis is conducted under section 7 of
the ESA.”11 The BiOp states that State 404 permit applications must include: “Analysis of any
cumulative effects, which are the effects of future State or private activities that are reasonably


5 U.S. Fish and Wildlife Service, Programmatic Biological Opinion for U.S. Environmental Protection Agency’s

Approval of FDEP’s Assumption of the Administration of the Dredge and Fill Permitting Program under Section
404 of the Clean Water Act (hereafter “404 Programmatic BiOp”), at 68–69.
6 404 Programmatic BiOp at 56.
7 50 C.F.R § 402.02.
8 50 C.F.R § 402.02.
9 50 C.F.R § 402.02.
10 50 C.F.R § 402.02.
11 404 Programmatic BiOp at 20. See also id. at 25 (“The USFWS evaluation of the likelihood that a permit action

may jeopardize a species or adversely modify critical habitat will take into account the effects of any unrelated non-
federal actions occurring in the project area, similar to the way a cumulative effects analysis is conducted under
section 7 of the ESA.”).




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certain to occur within the project area.”12 It defines “project area” to mean: “a portion of the
State-assumed waters where specific dredging or filling activities are permitted and consist of a
bottom surface area, any overlying volume of water, and any mixing zones,” but specifies that,
“In the context of the review of State 404 permit applications for endangered and threatened
species, also includes those areas outside the immediate area of activity which may affect listed
species using those areas.”13

With regard to how jeopardy will be evaluated as part of the “structured process,” the 404
Programmatic BiOp states that, “the USFWS’s project-specific, species-specific, review of the
likelihood that a permit action may jeopardize a species or adversely modify critical habitat will
take into account the effects of any unrelated non-federal actions occurring in the project area,
similar to the way a cumulative effects analysis is conducted under section 7 of the ESA.” 14
“Assessment of adverse cumulative impacts must be considered during the review of State 404
permit applications; the assessment of expected impacts to species that may be caused from a
particular project must be considered along with the impacts that may have been caused from
past authorized projects, as well as those future projects that are reasonably certain to occur.”15

Reasonably foreseeable activities requiring authorization under the State 404 Program seemingly
are non-federal actions, and therefore in making jeopardy determinations for each State 404
Program permit, their effects in the area affected by the permit application at issue must be
considered as cumulative effects and added on top of the baseline when considering whether the
effects of the permit are likely to cause jeopardy.

The cumulative impacts proposed by this applicant and others, which are pending or otherwise
reasonably foreseeable, are extreme. These impacts include, but are not limited to, the 45,000
total acres of mining and development that were pursued under the ECMSHCP for over twelve
years.

As of the date of this letter, Rural Lands West (about 4,000 acres), Bellmar (about 1,790 acres),
and Hogan West (640 acres)16—approximately 6,430 acres of the remaining 39,973 acres
unpermitted but previously considered under the ECMSHCP—are now pending before the FDEP
state 404 program. Additionally, the Barron Collier Rod and Gun Club, an approximately 895-
acre project that proposes impacts within the ECMSHCP development and “preserve” area,
including golf courses, shooting ranges, and residential estates within a panther corridor, was
recently active with FDEP for verification that no state 404 permit was needed.17 In their
withdrawal letter, the applicants state that they soon intend to apply for the FDEP state 404
permit.



12 404 Programmatic BiOp at 16.
13 404 Programmatic BiOp at vii.

14 404 Programmatic BiOp at 66 (discussing cumulative effects of EPA assumption decision).
15 404 Programmatic BiOp at 21.
16 Of Rural Lands West’s impact acres, 3100 acres are with Primary Zone panther habitat. All of Bellmar is within

the Primary Zone. Of Hogan West’s (AKA Brightshore) impact acres, 211 of these acres within Primary Zone. The
remainder of these projects are within Secondary Zone panther habitat.
17 Barron Collier withdrew its request for FDEP’s action on May 20, 2022, stating that “we intend to apply for a

SFWMD ERP and FDEP 404 permit later in the summer.”




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Therefore, projects put forth in the ECMSHCP are reasonably foreseeable and thus must be
considered by FDEP under the cumulative impacts analysis. It is clear, by advancing the Rural
Lands West and Bellmar projects with the U.S. Army Corps of Engineers’ 404 program and now
the state-assumed 404 program, that the landowners intend to pursue their developments
regardless of whether the ECMSHCP is completed. Moreover, since the 404 Programmatic BiOp
purports to provide authorization for incidental take to State 404 permittees, it is reasonably
foreseeable that the other developments under the Covered Activities will proceed via the State
404 program.

Additional developments, not covered by the now-withdrawn ECMSHCP but located within the
same critical panther areas, are also under consideration by FDEP. The Immokalee Road Rural
Village is adjacent to Hogan West and the ECMSHCP boundary. The project is 2,780 acres, with
676 acres that are Primary Zone panther habitat and the remainder Secondary Zone panther
habitat. It is situated between the 7,000+ acre Bird Rookery Swamp and the Collier County
Panther Walk Preserve, as well as the state protected lands of the Corkscrew Regional
Ecosystem Watershed (CREW). The wetland ecosystems constitute travel ways for large
mammals, and the project site is adjacent to one of the deadliest areas for Florida panthers. The
proposed project includes the construction of a rural village on a 2,787-acre site within the Rural
Fringe Mixed Use area of Collier County. Per the applicant’s 404 permit application, the
proposal includes a mixed-use development consisting of residential, commercial uses, and
civic/institutional, with associated infrastructure, amenities, and stormwater management system.
The applicant proposes to construct over 4,000 residential units: 2,842 single family residential
homes and up to 1,200 multi-family residential units.

Eastern Lee County, adjacent to the ECMSHCP boundary, has also experienced extreme
development pressure. The projects known as FFD, Troyer Mine, and Kingston (FKA Old
Corkscrew Plantation) would directly destroy 2,573 acres of Primary Zone panther habitat, and
directly and indirectly impact about 7,400 acres of Adult Breeding Habitat for panthers.18

 Project19             Homes                 Residents             Panther               Primary Zone          Wetland direct
                                                                   habitat
 Rural Lands           5,100                 10,496                4,000 ac              3,100 ac              311 ac
 West
 Bellmar               4,132                 8,683                 1,790 ac              1,790 ac              135 ac
 Collier Rod and       225                   583                   895 ac                895 ac                TBD
 Gun Club
 Hogan West            2,000                 4,893                 640 ac                211 ac                21 ac
 Immokalee             4,042                 9,874                 2,780                 676 ac                244 ac
 Road Rural
 Village
 Troyer Mine           0                     0                     907 ac                841 ac                214 ac
 Kingston              10,000                25,800                6,676 ac              1,177 ac              12 ac
 FFD                   5,208                 13,436                2,596 ac              555 ac                79 ac
 Totals                30,707                73,7652               20,284 ac             9,245 ac              1,016 ac

18 Conservancy of Southwest Florida, August 2, 2022. Letter to FDEP, FWC, and USFWS regarding Troyer Mine

state 404 permit, citing modeling analysis by Dr. Robert Frakes.
19 Selection of state 404 applications. Estimates based on best available information at time of drafting of this letter.




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Additionally, Florida Power and Light Beautyberry Solar Energy Center is a proposed
approximately 2,200-acre project located in Primary Zone panther habitat in Hendry County.20 A
proposed widening of State Road 82 would widen SR 82 for 23 miles to expand the road from
two lanes to four lanes (and ultimately, to six lanes) through Lee, Hendry and Collier Counties.
The segment between the Collier County line and Gator Slough is under review by FDEP for a
proposed state 404 permit. The continuous flow intersection at the center of the first of seven
parts of this project is expected to average about 2,700 cars per hour, more than a conventional
intersection can handle. The road runs north of and adjacent to important public lands and
panther habitat such as the Wild Turkey Preserve, Corkscrew Mitigation Bank, and Pepper
Ranch Preserve.21 Daniel’s Parkway South is a proposed mixed-use development in the DR/GR
area of Lee County requesting 1,600 residences and 350,000 sq ft of commercial development on
1,233 acres. Of those 1,233 acres, 944.5 acres are primary panther habitat. There is also a
proposal to widen 18 miles of SR 29 from Collier County to Hendry County from the existing
two lanes to four lanes. Traffic volumes on SR 29 are projected to increase from 6,200 vehicles
per day to 23,800 vehicles per day by the year 2035. The road widening project is adjacent to or

20 FDEP Oculus file for application #419224-002.
21 WFTX Digital Team, New Continuous Flow Intersection now open in Lehigh Acres (Jul. 9, 2019 6:37 AM),

https://www.fox4now.com/news/local-news/continuous-flow-intersection-now-open-in-lee-county; Florida
Department of Transportation, State Road (SR) 82 from Hendry County Line to Gator Slough Lane, Collier County
Resurface/Add Lanes Financial Project No. 430848-1-51-01(last visited Jul. 15, 2021),
http://www.swflroads.com/sr82/hendrytogatorslough/; No. 9 - S.R. 82 From Lee Boulevard to 40th Street, Roads &
Bridges (last visited July 15, 2021), https://www.roadsbridges.com/no-9-sr-82-lee-boulevard-40th-street; FDOT,
Project description, Project ID 425841-3, http://www.sr82design1.com/ (last visited Jul. 15, 2021).




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near major public lands and habitat.22 Additionally, a proposed widening of Snake Road in
Hendry County would involve approximately eight miles that cross an important wildlife
corridor connecting the Big Cypress National Preserve to public and private lands in southeast
Hendry County and the southwest corner of Palm Beach County.23

Notably, lands within the action area of the Bellmar project have already been eaten away by
development over recent years, particularly in eastern Lee County. Though we highlight just a
handful of projects here, the habitat losses have been substantial. Wildblue Residential
Development (2015), Corkscrew Crossing (2018), The Place (FKA Corkscrew Farms) (2016),
Verdana Village (2020), and Hyde Park (2020), have resulted in 11,600 acres of panther habitat
loss.24 The agencies must consider the impacts of the current proposal and reasonably
foreseeable development combined with the impacts of these developments.




22 Florida Department of Transportation, SR 29 - SR 82 to County Line (last visited Jul. 15, 2021),

http://www.swflroads.com/sr29/sr82tocountyline/; FDOT, SR 29 from North of New Market Road North to SR 82
(last visited Jul. 15, 2021), http://www.swflroads.com/sr29/newmarkettosr82/; FDOT, SR 29 from CR 846 E to
North of New Market Road N (last visited Jul. 15, 2021), http://www.swflroads.com/sr29/cr846tonewmarket/;
FDOT, SR 29 Design from South of Agriculture Way to CR 846 E (last visited Jul. 15, 2021),
http://www.swflroads.com/sr29/agriculturetocr846/; FDOT, SR 29 from Sunniland Nursery Road to South of
Agriculture Way (last visited Jul. 15, 2021), http://www.swflroads.com/sr29/sunnilandnurserytoagriculture/; Tony
Sherrard (FDOT), S.R. 29 PD&E Study From North of S.R. 82 to South of C.R. 80A (last visited Jul. 15, 2021),
http://swflroads.com/sr29/northof82/Images/Hearing%20Handout.pdf
23 Tara Backhouse, Snake Road Construction!, Seminole Tribe of Florida Ah-Tah-Thi-Ki Museum Blog (Feb. 6,

2011), https://ahtahthiki.wordpress.com/2011/02/16/snake-road-construction/.
24 Date of US Fish and Wildlife Service Biological Opinion for each project provided.




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    B. The agencies must address FWS’s prior analysis showing that the combined effects
       of the Bellmar project and other planned development in eastern collier county will
       cause jeopardy to the Florida panther.

FWS has previously made draft determinations indicating that the effects of authorizing the
Bellmar project in combination with other development in Eastern Collier County, and other
reasonably foreseeable impacts, will jeopardize the Florida panther. The Bellmar project was one
of multiple proposed developments from the Eastern Collier Property Owners (“ECPO”) seeking
an ESA section 10 Incidental Take Permit (“ITP”) in reliance on their proposed Eastern Collier
Multi-Species Habitat Conservation Plan (“ECPO HCP”). According to a recent statement by
FWS:

         The first full draft of the HCP was received on April 22, 2015. Modifications to
         the original HCP were received by the Service on October 14, 2017, April 6,
         2018, April 23, 2018, August 22, 2018, March 8, 2019, March 25, 2019, and
         September 17, 2019 (HCP Addendum). Also, a modification to the original ITP
         application was received on September 9, 2019.25

According to FWS, the ECPO applicants submitted a letter to FWS to withdraw their ITP
applications on July 28, 2022.26 While the letter indicates the ECPO applicants wish to withdraw
their ITP application, it confirms that the applicants will “move forward case-by-case on [their]
individual projects” within the HCP area through “project-specific reviews,” with some already
in that process and others “fast approaching.”27 While not explicitly stated in the letter, the
project-specific reviews the ECPO applicants are referring to apparently are state-assumed Clean
Water Act Section 404 permitting and associated reviews through the technical assistance
process, not ESA section 7 consultations. Following the ECPO applicants’ withdrawal, FWS
stated that, “[a]t the time of withdrawal, the Service had not made a final determination
regarding jeopardy or non-jeopardy for any of the covered species.”28 Nonetheless, FWS’s
analyses in publicly available draft Biological Opinions for the proposed ITPs under the
proposed ECPO HCP indicate that the combined effect of the proposed ECPO developments
would cause jeopardy to the Florida panther. FWS has publicly released two draft Biological
Opinions dated from December 2020 and December 2021, respectively.29 The December 2020
draft BiOp indicates that it is based on an iteration of the HCP from January 28, 2020, whereas
the December 2021 draft BiOp indicates that it is based on that version of the HCP “plus
subsequent addenda.”30


25 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9, 2022).
26 See id. See also Eastern Collier Property Owners Letter to USFWS dated 07/28/2022 Withdrawing their Incidental

Take Permit applications, available at https://www.fws.gov/media/eastern-collier-property-owners-letter-usfws-
dated-07282022-withdrawing-their-incidental-take.
27 Id. at 2–3.
28 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9, 2022).
29 It is our understanding that there is a 2022 draft of the BiOp, but we do not currently have public access to a copy.
30 Compare Biological Opinion and Conference Opinion, Eastern Collier Multi-Species Habitat Conservation Plan

(filename “20201229_draft BO-CO-ECMHCP_for ECPO.pdf”) (hereafter “2020 draft HCP BiOp”) at 1 [submitted
with these comments for inclusion in the administrative record] to Biological Opinion and Conference Opinion




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A February 24, 2021 letter from the ECPO ITP applicants to FWS regarding the December 2020
draft Biological Opinion (“BiOp”) makes clear their understanding that the draft BiOp concluded
that absent additional commitments from the ITP applicants to “fund public roadway
improvement projects (wildlife crossings and fencing) and ‘capture’ traffic within future
community developments,” the additional panther mortality from vehicle collisions due to
increased traffic induced by the proposed developments “would cause jeopardy.”31

Indeed, the December 2020 draft HCP BiOp makes clear that, even taking into account the
proposed mitigation measures under the draft ECPO HCP, the proposed ECPO developments
would result in a statistically significant increase in the risk of extinction for the Florida panther,
with a net loss of 12 panthers per year at full build-out.32 The December 2020 draft HCP BiOp
found that the risk of extinction with the HCP increased to 5.7%, compared to an extinction risk
of approximately 1.1% or 1.38% without it.33 The December 2020 draft HCP BiOp then
explained that to sufficiently reduce the increased risk of extinction so that it was no longer a
statistically significant increase, additional mitigation measures and/or changes to the proposed
developments to increase internal capture rates for traffic or otherwise reduce impacts would be
required.34 The 2020 draft HCP BiOp stated:

         If the Applicants are able to achieve a greater than 50 percent community
         (internal) capture rate, further reduce the effects of their action, or mitigate them
         through use of the Marinelli Fund for habitat restoration to the extent that the net
         effect is a loss of no more than 10 adult panthers (4 female adult panthers)/year
         above present (from all causes) our analysis finds the probability of extinction
         falls from 5.7 percent to 1.4 percent. This probability of extinction is within the
         95 percent C.I. [confidence interval] of scenarios where no additional panthers are
         taken above present (i.e., not significantly different from baseline).35

The next paragraph in the December 2020 draft HCP BiOp indicates that a “no jeopardy”
conclusion is contingent on finding that a “further net reduction of effects to fewer than 10
panthers per year at full build-out” will “be accomplished through the maintenance of high
community (internal) trip capture, adaptive management, and the mitigative effects of actions


Eastern Collier Multi-Species Habitat Conservation Plan (filename DRAFT-USFWS-ECPO-full-Biological-
Opinion-December-2021.pdf) (hereafter “2021 draft HCP BiOp”) at 1 [submitted with these comments for inclusion
in the administrative record].
31 “ECPO’s High-Level Comments on Draft BO” at 12, transmitted to Robert Tawes

Chief, Environmental Review Division, U.S. Fish and Wildlife Service, Southeast Region by Bruce Johnson,
Principal, Senior Scientist , Stantec Consulting Services, as attachment to letter dated February 24, 2021. (Obtained
from FWS via FOIA) [submitted with these comments for inclusion in the administrative record]; see also Email
from Leopoldo Miranda, Regional Director, FWS, to Jack Arnold, Acting Assistant Regional Director, FWS,
regarding a Revised ECPO Information Memorandum (June 5, 2019) (quoting a draft information memorandum
stating, “We have also begun frank discussions with ECPO, most recently May 10 and 14, based on the Service’s
preliminary, internal analyses of traffic volume effects on the continued survival or recovery of the Florida
panther.”) [submitted with these comments for inclusion in the administrative record].
32 Biological Opinion and Conference Opinion, Eastern Collier Multi-Species Habitat Conservation Plan (filename

“20201229_draft BO-CO-ECMHCP_for ECPO.pdf”) (hereafter “2020 draft HCP BiOp”) at 158–159.
33 Id. at 158–159.
34 See id. at 159.
35 Id. at 159.




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facilitated by the Marinelli Fund.”36 In short, the December 2020 draft HCP BiOp shows that the
combined impacts of the proposed ECPO developments would cause jeopardy to the Florida
panther absent additional changes to the design or additional mitigation measures to reduce the
anticipated number of annual panther losses caused by implementing the proposed covered
activities.

The December 2021 draft HCP BiOp similarly states:

         [O]ur PVA [population viability analysis] predicts the implementation of the
         HCP, in the absence of further actions to reduce the impact of the action to the
         panthers, could reduce the abundance of panthers across their range such that the
         probability of extinction is predicted to increase from 1 percent (95 percent C.I.
         0.2 to 1.8 percent) to 5.7 percent (95 Percent C.I. 2.2 to 9.2 percent). When
         cumulative effects are added to the effects of the HCP the probability of
         extinction further increases to 6.6 percent (95 percent C.I. 2.3 to 10.9 percent).
         The probability of extinction after implementation of the HCP is statistically
         significantly different than baseline conditions. If the Applicants are able to
         achieve a greater than 50 percent community (internal) traffic capture rate, further
         reduce the effects of their action, or mitigate them through use of the Marinelli
         Fund for habitat restoration to the extent that the net effect is a loss of no more
         than 10 adult panthers (4 female adult panthers)/year above present (from all
         causes) our analysis finds the probability of extinction falls from 5.7 percent to
         1.4 percent. This probability of extinction is within the 95 percent C.I. of
         scenarios where no additional panthers are taken above present (i.e., not
         significantly different from baseline).37



Notably, whereas the draft HCP BiOps both state that additional panther losses must be limited
to “no more than 10” per year over present levels, other portions of the draft HCP BiOps indicate
that the number actually must be fewer than 10 over present levels to avoid a statistically
significant increase in extinction risk. 38

Just like the 2020 draft HCP BiOp, the modeling in the 2021 draft HCP BiOp finds that, even
with 8 wildlife crossings and assuming a 50% internal capture rate for traffic, implementation of
the HCP will cause a total of 12 additional panther deaths per year, 8 from vehicle collisions
resulting from increased traffic induced by the HCP developments, and 4 from habitat loss and

36 2020 draft HCP BiOp at 159 (emphasis added).
37 2021 draft HCP BiOp at 148.
38 See 2020 draft HCP BiOp at 146 (“Internal population viability analysis contingency modelling, and statistical

comparison of possible thresholds found that the probability of extinction 100 years after ITP expiration of BSLR,
BSLR + HCP, and BSLR + HCP + CE scenarios do not differ significantly (1.38 percent Prext versus the 1.1±0.8
percent Prext estimated for BSLR) if fewer than 10 adult panthers (4 female panthers) total are taken annually,
above present.”) (emphasis added); 2021 draft HCP BiOp at 133–134 (“Our analysis of these PVAs found that
though there was still a difference in final abundances, the probability of extinction 100 years after ITP expiration
does not differ significantly from Baseline + Sea Level Rise (1.38 percent Prext versus the 1.1±0.8 percent Prext
estimated for BSLR) if fewer than 10 adult panthers (4 female panthers) total are lost annually, above present, from
any cause (e.g., habitat loss, roadway mortality, etc.).”) (emphasis added).




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degradation.39 And both the 2020 and 2021 BiOps find that the cumulative effects of traffic
induced by other non-HCP, non-federally authorized actions will cause an additional 2 panther
deaths per year, even after accounting for the mitigation provided by 8 wildlife crossings. 40 In
sum, both versions conclude that the additional panther deaths associated with implementation of
the HCP will be 12 per year, and that such panther losses must be limited to fewer than 10 per
year to avoid a statistically significant increase in the risk of extinction (i.e. jeopardy). Both
versions indicate that additional changes to the proposed HCP, such as commitments to achieve
internal capture of traffic greater than 50% and/or additional commitments for mitigation, would
be necessary to conclude that the panther losses will be reduced to 10 or fewer.

Based on the available records, there appears to be no indication that the HCP applicants further
modified their project designs or mitigation commitments to achieve the necessary reductions in
the number of additional panther losses per year.41 Consequently, the Service’s draft analyses
appear to indicate that, absent additional changes to the project designs to increase internal
capture above 50% or commitments for additional avoidance or mitigation of impacts, the
combined impacts of the Bellmar project and the other projects formerly part of the proposed
HCP, will result in total panther losses that are likely to cause jeopardy to the Florida panther.

This result is especially concerning because the 2020 and 2021 draft HCP BiOps reflect multiple
assumptions that result in underestimating the risk of extinction, as detailed below in section I.C.

    C. The 2020 and 2021 draft HCP BiOps underestimate the risk of extinction for
       Florida Panthers and the impacts of the HCP Covered Activities, which include the
       Bellmar project, on that risk.

Although FWS’s analyses in the 2020 and 2021 draft HCP BiOps raise legitimate concerns that
the cumulative effects of the Bellmar project and other proposed projects will jeopardize the
Florida panther, even these analyses underestimate the harm to the species and the extent of
projected jeopardy by relying on unsupported assumptions. To accurately and lawfully consider
the direct, indirect, and cumulative effects of Bellmar on the panther and other listed species, the
agencies must first address these problematic assumptions.




39 See 2020 draft HCP BiOp at 153, lines 5444-5447; 2021 draft HCP BiOp at 142, lines 5055-5057.
40 See 2020 draft HCP BiOp at 153; 2021 draft HCP BiOp at 142.
41 In contrast to the Florida panther opinion section from the 2020 draft HCP BiOp, the 2021 draft HCP BiOp omits

a paragraph indicating that a no jeopardy conclusion hinged on additional changes such as assuring greater internal
capture of traffic or committing to additional impact reductions or mitigation. In its place is a paragraph indicating
that instead of actually specifying the changes to the HCP necessary to ensure greater internal capture rates above
50%, or to ensure commitments to undertake specific additional avoidance or mitigation measures, the Service may
have intended to rely on “adaptive management measures” added to the conditions in yet unidentified permit terms
to somehow provide an avenue for additional impact reduction post-permit issuance. Compare 2021 draft HCP
BiOp at 148 to 2020 draft HCP BiOp at 159. Notably, in ESA contexts, courts have found that the Service
unlawfully relied on “adaptive management” in lieu of specific measures or specific criteria to ensure satisfaction of
ESA standards. See, e.g., Greater Yellowstone Coal., Inc. v. Servheen, 665 F.3d 1015, 1025–28 (9th Cir. 2011)
(reliance on “adaptive management” to justify delisting grizzlies in the face of substantial uncertainty about extent
of impacts on population from harmful factor was unlawful given lack of specific criteria to address that factor).




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        1. In estimating extinction risk resulting from implementation of the HCP, the
           draft HCP BiOps assume that the developments under the HCP’s Covered
           Activities will result in 50% internal capture, despite evidence indicating actual
           internal capture rates as low as 2% for proposed projects.

In estimating the impacts to panthers from increased traffic that would be induced by
implementation of the HCP, the modeling in both the 2020 and 2021 draft HCP BiOps assumes
that the developments under the Covered Activities will have a 50% internal capture rate. That
assumption was based on the assertion that “future developments proposed in the HCP would
have daily internal trip capture rates similar to the community of Ave Maria” which FWS
asserted “approaches 50 percent.”42 Despite adopting that assumption in the modeling, the 2020
draft HCP BiOp conceded that:

        [R]ecent proposals for residential communities submitted by the Applicants to
        Collier County in the Plan Area indicate some communities being planned will
        achieve an internal capture rate of 2 percent as indicated by the Applicants’
        planning documents. If developments that don’t achieve the internal capture rate
        of Ave Maria are constructed, it is likely the traffic model will underestimate
        future traffic volume generated by development proposed in the HCP, and thus
        the total impact the proposed developments may have on panthers. If the
        Applicants build communities with a lower internal capture rate, but still use the
        $12.5 million to construct crossings (e.g., 8 crossings are constructed), we would
        nonetheless expect higher panther mortality due to greater traffic on existing
        roads (Tables 13a and 13b in Appendix I).43

In other words, the 2020 draft HCP BiOp conceded that, even if 8 wildlife crossings were built,
its model would underestimate the actual impacts to panthers if the proposed developments
under the HCP’s Covered Activities did not actually achieve 50% internal capture. When paired
with the reality that at least some of those proposed developments would apparently achieve a
mere 2% internal capture rate, FWS clearly underestimated projected impacts for the panther.
The 2021 draft BiOp similarly states:

        One of the more important assumptions made when the traffic model was
        produced was that future developments proposed in the HCP would have daily
        internal trip capture rates similar to the community of Ave Maria, which
        approaches 50 percent. However, recent proposals for residential communities
        submitted by the Applicants to Collier County in the Plan Area indicate some
        communities being planned will achieve an internal capture rate of 2 percent as
        indicated by the Applicants’ planning documents. If developments that don’t
        achieve the internal capture rate of Ave Maria are constructed, it is likely the
        traffic model will underestimate future traffic volume generated by development



42 2020 draft HCP BiOp at 129; see also 2021 draft BiOp at 42 (“Specifically, we assumed such metrics as future

housing density, number of people per dwelling, employment, and daily vehicle trips per household would be
similar to what is currently exists in the Town of Ave Maria.”).
43 2020 draft HCP BiOp at 129–130 (emphasis added).




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         proposed in the HCP, and thus the total impact the proposed developments may
         have on panthers.44

And the 2021 draft HCP BiOp further states:

         [I]t is possible future developments will have a lesser internal traffic capture rate,
         higher dwelling unit density, and higher number of residents per dwelling unit
         than the Town of Ave Maria, which was a template for future development
         proposed in the HCP when we estimated how much traffic would likely be
         generated on existing roadways. If this were to occur, we would expect to see
         greater traffic volume and effects to panthers than we have estimated in this BO. 45

Nonetheless, neither BiOp indicated that FWS intended to provide any binding requirement that
would actually ensure internal capture of at least 50%. Nor does either BiOp assert that the HCP
itself provides plan components that would result in at least 50% internal capture. Instead,
maintaining at least 50% internal capture is merely suggested as a conservation
recommendation.46 Thus, the BiOp’s estimates that implementation of the HCP would result in
12 panther deaths per year, with 8 of those deaths resulting from increased traffic, are based on
an assumption about internal capture that was not supported by actual internal capture rates, nor
assured by any binding requirement, nor incorporated as a fixed feature of the proposed action.47
And the PVA modeling used to reach conclusions about extinction risk from implementation of
the HCP were based on the similarly assumed 12 panther deaths per year from the HCP, with 8
from increased traffic, based on the internal capture rate of 50% and 8 crossings.

Importantly, both of the draft HCP BiOps do contain analyses showing how lower internal
capture rates increase the number of panther fatalities per year that would result from the HCP




44 2021 draft HCP BiOp Appendix H (Analysis of Panther Motor Vehicle Mortality) at 7 (emphasis added).
45 2021 draft HCP BiOp at 136.
46 See 2021 draft HCP BiOp at 310 (suggesting maintaining internal capture of at least 50% as a conservation

recommendation); 2020 draft HCP BiOp at 320 (same); 2020 draft HCP BiOp at 130 (“…the HCP does not identify
explicit targets for internal trip capture, a maximum number of crossings, where they will be located, or what
measures they are likely to take to maximize their effectiveness. Thus, our analysis remains confined to the
assumption of 50% internal trip capture in newly constructed communities and the construction of a minimum of 8
wildlife crossings.”) (emphasis added).
47 Consequently, reliance on that assumption of 50% internal capture to reach a no jeopardy conclusion would

violate the ESA because achievement of that rate was not reasonably certain to occur based on the record before
FWS, and apparently was not assured by any binding requirement or component of the plan. See, e.g., Nat’l Wildlife
Fed’n v. Nat’l Marine Fisheries Serv., 524 F.3d 917, 935–36 (9th Cir. 2008) (requiring measures relied on to reach
no jeopardy conclusion be set forth in specific and binding plans). The ESA’s express requirement to “insure” that
agency actions are not likely to cause jeopardy, 16 U.S.C. § 1536(a)(2), plainly requires that the Services cannot
reach a no jeopardy conclusion that relies on mitigation offsetting harm unless there is reasonable certainty that the
mitigation will actually render jeopardy unlikely. As the Supreme Court has recognized in construing section
7(a)(2), “To ‘insure’ something…means ‘[t]o make certain, to secure, to guarantee (some thing, event, etc.).’” Nat’l
Ass’n of Home Builders v. Defs. of Wildlife, 551 U.S. 644, 667 (2007) (quoting appellate court, in turn quoting
Oxford English Dictionary 1059 (2d ed.1989)). The plain text of the Act therefore requires that the Service cannot
issue a no jeopardy conclusion unless the action agency has indeed made it certain, secured, or guaranteed that
mitigation relied upon to avoid jeopardy will actually occur.




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developments at a given number of wildlife crossings. 48 That analysis indicates, for example, that
assuming 8 wildlife crossings added by the HCP, an internal capture rate of 30% would add
approximately three more panther deaths per year than an internal capture rate of 50%.49 That
analysis also shows how the total number of panther fatalities from the HCP and cumulative
effects would change with lower internal capture rates.50

However, the BiOps do not include any modeling to estimate the extinction risk from the HCP
associated with internal capture rates under 50%. This is critical where, to the extent the
applicants are working to increase the internal capture rate by merging Bellmar into the larger
Rural Lands West project, there is no data to suggest it would reach the 50% threshold set forth
in the draft HCP BiOps.

Consequently, in evaluating whether the Bellmar project, considered with the cumulative effects
of other reasonably foreseeable state and private actions (such as the other former HCP projects
and the cumulative effects in the draft HCP BiOps), will likely cause jeopardy to the Florida
panther, the agencies must consider what the actual internal capture rates of the projects will be,
and how those capture rates will affect the total additional panther mortalities that will
foreseeably result from the developments.

        2. The draft HCP BiOps underestimate the impacts on panthers by
           underestimating the amount of traffic induced by the developments
           covered under the draft HCP.

In the 2021 draft HCP BiOp Appendix B.1 “Description of the Traffic Model,” the Service
attempts to estimate a density for proposed development to estimate a likely population in the
eastern Collier area. The Service estimates that the Town of Ave Maria is 1.4 units per acre and
uses that as the basis to assume “a comparable residential unit density on the remaining 39,973
acres proposed for development.”51 The resulting population estimate is approximately 152,000
people. However, the Bellmar project, and the other locally approved projects, have an average
density of 2.6 development units per acre and an average of 2.5 people per household.52 With a




48 See 2020 draft HCP BiOp Appendix I at Table 2a [2020 draft HCP BiOp Appendices submitted with these

comments for inclusion in the administrative record]; 2021 draft HCP BiOp Appendix H at Table AH2a [2021 draft
HCP BiOp submitted with these comments for inclusion in the administrative record].
49 See 2020 draft HCP BiOp Appendix I at Table 2a; 2021 draft HCP BiOp Appendix H at Table AH2a.
50 See 2020 draft HCP BiOp Appendix I at Table 13b; 2021 draft HCP BiOp Appendix H at Table AH2b.
51 2021 draft BiOp at Appendix B.1.
52 Average density for the components of Rural Lands West is 2.6 development units per acre (per Approved Town

Agreement between Collier County Board of County Commissioners and Collier Land Holding, LLC/CDC Land
Investments, LLC, dated June 8, 2021. And respective Village approvals, Collier County Resolution 2021-119,
Collier County Resolution 2020-24). Density for Bellmar Village (a portion of state 404 footprint) is 2.75
development units per acre (per Collier County Resolution 2021-120). Other projects such as Hogan West (AKA
Brightshore Village) have a projected density of 2.9 development units per acre (per Brightshore Village SRA
Development Document for Collier County SRA Application, June 29, 2022). Of the seven Stewardship Receiving
Areas (SRA) approved and pending in eastern Collier County, the average density is 2.6 development units per acre.
The average persons per household in Collier County is 2.54 based on Census information accessed at
https://www.census.gov/quickfacts/fact/table/colliercountyflorida,US/HCN010217.




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more realistic density, the projected estimate for the ‘new’ population within the 45,000 acres of
the eastern Collier area would be closer to 300,000+ people.53

This underestimation of human population -and the number of cars on roadways- within Bellmar
and other reasonably foreseeable development can also be found when looking at the Economic
Assessments provided to Collier County. The assessments for Rural Lands Wests, Bellmar,
Hogan West, and others have averaged around 6.7 people per acre, which again estimates the
population for the eastern Collier developments at around 300,000 people.54

        3. The draft 2021 HCP BiOp underestimates cumulative effects by failing to
           update the analysis in light of Florida’s assumption of Clean Water Act
           404 permitting.

Both the 2020 and 2021 draft HCP BiOps use the same assumptions about future non-HCP, non-
federal actions in their modeling of cumulative effects. Both draft HCP BiOps assume that
25.3% of future, non-HCP developments will occur without a federal permitting nexus to trigger
federal action, and therefore warrant inclusion in the assessment of cumulative effects as defined
per 50 C.F.R § 402.02.55 Both draft HCP BiOps only consider the traffic impacts of that 25.3%
of future development in modeling the cumulative effects, and the increased extinction risk
resulting from the HCP plus cumulative effects. Yet by December 2021, Florida DEP had
assumed Clean Water Act Section 404 permitting pursuant to EPA’s decision on the State 404
Program, a decision that drastically altered whether future projects would require a federally
issued permit to fill wetlands. Though 404 permits for wetlands fills now frequently will be
issued by the state rather than the U.S. Army Corps of Engineers, the 2021 draft HCP BiOp does
not appear to engage in any re-evaluation of whether it is still true that only 25.3% of future,
non-HCP developments will entail no federal action subject to ESA section 7 consultation.
Consequently, it is plain that the analysis in the BiOps fails to address the reality that a much
larger proportion of non-HCP traffic induced in the action area will be from future projects that
will not be subject to ESA section 7 consultation due to the State 404 permitting scheme, and
therefore should have been evaluated as sources of cumulative effects.

As the Service recognizes in the draft 2021 HCP BiOp documents, a jeopardy determination
must be based on whether the action, either individually or taken together with cumulative
effects, will appreciably diminish the likelihood of survival or recovery for the species.56 By

53 Any mining within the eastern Collier HCP area is likely to become lake-front development once mining uses are

complete. The estimate of over 300,000 people does not include the addition of one home per five-acre ranchettes.
54 Based on information provided in DPFG Town of Big Cypress Economic SRA Assessment, Revised June 28,

2022, p. 42; DPFG Bellmar Village SRA Economic Assessment, Revised January 8, 2021, p. 36; DPFG Longwater
Village SRA Economic Assessment, Revised January 8, 2021; DPFG Rivergrass Village SRA Economic
Assessment, Revised September 3, 2019, p. 38. DPFG Brightshore Village (AKA Hogan West) SRA Economic
Assessment, Revised August 26, 2022, p. 31; DPFG Hyde Park Village (aka Skysail) Economic Assessment,
Revised November 13, 2019, p. 35.
55 Compare 2021 draft HCP BiOp Appendix H at 5–6; 2021 draft HCP BiOp Appendix J at 1, 2-3 to 2020 draft HCP

BiOp Appendix H at 4 of 8; 2020 draft HCP BiOp Appendix J at 1.
56 See 2021 draft HCP BiOp Appendix L at 10 (“Under section 7 of the ESA, we compare the future with the project

scenario (BSLR + HCP) to the Baseline condition (BSLR) to help us determine whether the effects of the action are
likely to result in an appreciable decrease or increase in the probability of survival and recovery over time. In
addition, under section 7 of the ESA, we consider the cumulative effects, and compare the future with the project




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failing to evaluate the impacts of all of the reasonably foreseeable non-HCP future development
that will not entail federal action subject to ESA consultation requirements, the draft HCP BiOps
underestimate the increased risk of extinction that will result from the HCP projects and other
reasonably foreseeable non-HCP development in the action area.

         4. The 2021 draft HCP BiOp’s PVA modeling underestimates baseline risk of
            extinction because it assumes artificial introgressions to maintain genetic health
            will be conducted, even though there are no plans to conduct those
            introgressions.

The 2021 draft HCP BiOp makes clear that a key assumption of the PVA modeling it used to
estimate the risk of extinction is that: “The Service will maintain the genetic health of the
population through translocation when necessary, and in a manner consistent with the
recommendations of van de Kerk et al. (2019).”57 The Service explains that:

         If recommendations of introducing 5-10 individuals from other Puma populations
         every 20-40 years aren’t adopted, van de Kerk et al (2019) predicted probability
         of quasi-extinction would increase to 13 percent (0–99) at 100 years and 23
         percent (0–100) at 200 years (Minimum Population Count Scenario) or to 10
         percent (0–99) at 100 years and 12 percent (0–99) at 200 years (Motor Vehicle
         Mortality Scenario). If the van de Kerk et al. (2019) recommendations aren’t
         adopted, it would mean our estimates of extinction probability and abundance
         would change similarly.58

 Although the risk modeling in the BiOp is therefore based on the assumption that the Service
 will undertake those actions to supplement the panther population, the draft 2021 HCP BiOp
 concedes that the Service in fact has no actual plans to conduct those actions; the draft 2021
 HCP BiOp states, “It is not known if efforts to translocate panthers or apply some other measure
 to increase genetic variability in the panther population may occur in the future.”59
 Consequently, it is arbitrary and capricious for the Service to base its analyses of extinction
 risks, and jeopardy, on the assumption that these actions will take place when the Service
 concedes that it is in fact unknown whether those actions will occur or not. There is no
 indication that the Service even attempted to evaluate how changing that assumption would alter
 its analysis of total extinction risk with the HCP, or the total extinction risk with the HCP and
 cumulative effects. So while the 2021 draft HCP BiOp does acknowledge that the baseline
 extinction risk would be substantially higher absent these management activities to supplement
 the population, it fails to evaluate the compounding effect of the HCP and cumulative impacts
 against a baseline scenario of substantially increased risk. When considering the direct, indirect,




and cumulative effects scenario (BSLR+HCP+CE) to the Baseline condition (BSLR) to help us determine whether the
effects of the action along with other actions that are reasonably certain to occur in the future without consultation
with the Service are likely to result in an appreciable decrease or increase in the probability of survival and recovery
over time. We consider both of these comparisons when we make our jeopardy determination.”).
57 2021 draft HCP BiOp Appendix L at 1.
58 2021 draft HCP BiOp Appendix L at 12.
59 2021 draft HCP BiOp at 141.




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 and cumulative effects of the Bellmar project, the agencies must correct this unsupported
 assumption.

         5. The draft HCP BiOps conceal the true risk of extinction by using speculation
            about carrying capacity to mask the impacts of habitat loss from sea level rise.

The PVA modeling results in both draft HCP BiOps conceal the true baseline risk of extinction
by averaging together the results from model runs based on three different assumptions about
whether the population is currently at carrying capacity for the remaining habitat. Although past
PVAs assumed that the population reflected either 100% of the carrying capacity of the existing
habitat, or 80% of the carrying capacity, the draft HCP BiOps, with little explanation or
justification, also assume that the current population may reflect only 60% of the carrying
capacity of the existing habitat.60

First, the assumption that the current population reflects only 60% of the carrying capacity of the
panther’s remaining habitat appears to be based on speculation rather than the best available
scientific information. The 2021 draft BiOp states:

             The present Florida panther population is at or near average annual carrying capacity
             (K) of habitat south of the Caloosahatchee River. However, it
             is possible future habitat management may increase carrying capacity to range-wide
             effect. It is also possible present assumptions about maximum attainable panther
             densities are wrong. Thus, we assume the true K could actually be up to 40 percent
             higher than the present population size.61

This makes plain that FWS has based its analysis on mere “possibility” and conjecture rather
than on what conditions are likely based on the best available scientific information, in violation
of ESA requirements. It is also plainly irrational, as FWS elsewhere concedes, that “the true
carrying capacity is unknown but Service and FWC biologists infer the population may be at or
near carrying capacity (K)” but then proceeds to state that it nonetheless “assumed it is possible
N0 (the current population size) represents 100 percent, 80 percent, and 60 percent of carrying
capacity.”62 There is no explanation of how 60% of carrying capacity is somehow rationally
consistent with evidence suggesting the population is “at or near” 100% of carrying capacity.
Most people would not consider a glass that is 60% full to be “at or near” being 100% full. This
assertion is especially egregious given that the Service’s peer reviewer pointed out that the
studies cited by FWS regarding population trends could not be relied on to rule out that the
population may already be either stable or in decline, rather than growing.63 Moreover, the most

60 See 2021 draft HCP BiOp Appendix L at 4 (Table AL1 n.2) (“Our past PVA only utilized N = K and N = 80
                                                                                         0   0     0
percent of K0. Our current PVA incorporates scenarios where N0 may equal 60, 80, and 100 percent of K0.”).
61 2021 draft HCP BiOp Appendix L at 2 (emphasis added).
62 2021 draft HCP BiOp Appendix L at 7 (emphasis added).
63 See 2021 draft HCP BiOp Appendix M at 3 of 166 (“In the report Dr. Martin noted that recent efforts to estimate

the Florida panther population over time contained a great deal of uncertainty. Particularly, he noted that though the
central tendency of these estimates indicates a growing population, the confidence intervals surrounding these
estimates were so wide that the possibility of an unchanging population or population in decline couldn’t be
rejected. Dr. Martin also indicated concern that were the panther population to be declining, rather than growing,
future catastrophes, such as disease outbreaks of more serious diseases than seen to date, could have a greater affect
[sic] on population viability than had been estimated in previous PVAs. Based on Dr. Martin’s advice, the Service




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recent population estimates indicate that the population is no longer increasing. As the 2020 SSA
acknowledges, the most recent population trend data indicate the population did not grow
between 2016 and 2018, and began to decline from 2017 to 2018.64

Second, rather than separately presenting the results of models based on the assumption of the
population being at 100%, 80%, and 60% of the carrying capacity of the habitat, the draft HCP
BiOps only present the results showing the averaging of model runs reflecting these three very
different carrying capacity assumptions. Thus, the draft HCP BiOps conceal the extinction risk
associated with the impacts of habitat loss given the more realistic assumption that the
population is already at 100% of carrying capacity. Notably, in the BiOp’s PVA analysis, FWS
models sea level rise by 2070 as resulting in an 18% habitat loss for the Florida panther.65 Yet its
model shows little impact on the projected future population from that enormous amount of
habitat loss, and indeed, shows the same result as a prior model that totally failed to address the
impacts of sea level rise (SLR)-related habitat loss at all.66 Without ever contemplating whether
that might indicate that there is something wrong with the BiOp’s modeling of SLR impacts,
FWS instead asserts that “SLR as we modeled it here does not influence probability of extinction
as much as small population size and genetic variation might.”67 FWS totally fails to consider
that the reason that there is little impact from this enormous amount of habitat loss is because the
assumption that the current population is only at 60% of carrying capacity would mean that the
population could still grow by about 20% even with a 20% habitat loss. And the assumption that
the current population is at 80% of carrying capacity similarly would mean that the population
can stay the same, even with a 20% habitat loss. Averaging these results together with the
scenario where the population is already at 100% of carrying capacity, and therefore would
likely drop by about 20% in response to a 20% habitat loss would unsurprisingly mask the
substantial population drop under the K = 100% scenario by averaging it out against the increase
under the K= 60% scenario. Indeed, it is almost as if the modeling, and the otherwise arbitrary
choice of the K=60% scenario was selected specifically to ensure this result, and mask the
impacts of SLR on the baseline extinction risk.

Notably, the 2020 draft HCP BiOp acknowledges that the choice of carrying capacity explained
a substantial portion of the variance in the projected abundances, but otherwise fails to examine
how the treatment of carrying capacity in the modeling irrationally and unreasonably masked the
impacts of SLR. 68 This error taints both the representations about the baseline extinction risk,
and the impact of the HCP and cumulative effects in compounding the baseline extinction risk,
with the upshot being that the analysis in the HCP BiOps underestimates the extinction risk



amended portions of the Biological Opinion that treated ‘rapid growth of the panther population’ as fact to reflect
this was but one possibility for the true population trend but that others, like population decline, could also be
true.”).
64 See U.S. Fish and Wildlife Serv. 2020. Species Status Assessment for the Florida Panther. Version 1.0. September

2020. Vero Beach, Florida [“SSA”] at 88, 90, Figure 6.8.
65 2021 draft HCP BiOp Appendix L at 8.
66 See 2021 draft HCP BiOp Appendix L at 12 (“Our results were also similar to van de Kerk et al.’s (2019) despite

the fact their model did not consider the impact of sea level rise, while ours did.”).
67 2021 draft HCP BiOp Appendix L at 12.
68 See 2020 draft HCP BiOp at 145 (stating that the choice of carrying capacity explained 17.8% of the variance in

final abundance whereas scenario explained 38.15%, and initial population 33.09%).




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resulting from the impacts of the HCP and cumulative effects exacerbating the disastrous habitat
loss from SLR.

        6. The PVA modeling underestimates extinction risk by failing to account for the
           impacts of additional habitat loss from SLR between 2070 and 2170.

The PVA modeling relied on in the draft HCP BiOps to estimate extinction risk evaluates what
the Florida panther population will be 100 years after the end of the proposed 50-year period for
the proposed Incidental Take Permits in 2070.69 FWS explains that its PVA model accounted for
habitat loss due to sea level rise by “treat[ing] Sea Level Rise up to 2070 as an effect in the
baseline portion of [the] assessment[.]70 FWS acknowledged that SLR “will have range-wide
effects on demographic parameters and habitat availability for panthers within the proposed
permit duration of the HCP.”71 FWS estimated that by 2070, 1 meter of SLR would cause the
loss of 18% of the Florida panther’s habitat.72 “To input SLR in the PVA [FWS] assumed SLR
would accumulate linearly and only to 1 m by 2070, and divided the acreage by 50 years with 0
acres lost to SLR being equivalent to a proportion of individuals represented by a given N0 …
and to 18 percent of habitat loss to SLR being equivalent to 18 percent of N 0.”73 FWS explicitly
states that the PVA modeling relies on the assumption that “Sea Level Rise of 1m will occur by
2070 but will not take additional Florida panther habitat beyond that time.”74 Thus, FWS
apparently only modeled habitat loss due to SLR up until 2070, but did not account for additional
habitat loss that would occur as sea levels continue to rise after 2070. FWS’s modeling purports
to assess the population 100 years after 2070 but ignores the impacts on that population of
continued habitat loss from SLR between 2070 and 2170, even though SLR projections are
available through at least 2100. Indeed, in the 2020 Species Status Assessment for the Florida
Panther, FWS used sea level rise models of up to two meters to estimate possible loss of panther
habitat through 2100.75 And, in 2017, NOAA estimated that global mean sea level rise in 2100
would be nearly double that in 2070 under the Intermediate through High scenarios. 76 By failing
to account for continued sea level rise related habitat loss after 2070, the PVA modeling likely
overestimates panther abundance in 2170 and underestimates the extinction risk. Revised

69 See 2021 HCP BiOp Appendix L at 10 (“For each of the three scenarios above, we simulated a 150-year

population trajectory (50-year build-out plus 100 years beyond) and compared the predicted change in population
viability for the panther.”); 14, Table AL3 (“The probability of extinction and predicted population size of the
Florida panther under Baseline with Future Sea Level Rise (BSLR), BSLR plus HCP Development Effects
(BSLR+HCP), and BSLR+HCP plus Cumulative Effects (BSLR+HCP+CE) scenarios given three different
beginning female panther population sizes. BSLR = Baseline (Current conditions + 1m SLR by 2070) and the end
time is 100 years after HCP full build-out in 2070.”).
70 2021 draft HCP BiOp at 132.
71 2021 draft HCP BiOp at 132.
72 2021 draft HCP BiOp Appendix L at 8.
73 2021 draft HCP BiOp Appendix L at 8.
74 2021 draft HCP BiOp Appendix L at 2.
75 U.S. Fish and Wildlife Serv. 2020. Species Status Assessment for the Florida Panther. Version 1.0. September

2020. Vero Beach, Florida [“SSA”] at vii, 189; see also SSA at 230–32.
76 See Sweet, W. V., R. E. Kopp, C. P. Weaver, J. Obeysekera, R. M. Horton, E. R. Thieler, and C. 12769 Zervas.

2017. Global and regional sea level rise scenarios for the United States. NOAA 12770 Technical Report NOS CO-
OPS 083. National Oceanic and Atmospheric Administration, 12771 Silver Spring, MD, at 23 (Table 5), available at
https://tidesandcurrents.noaa.gov/publications/techrpt83_Global_and_Regional_SLR_Scenarios_for_the_US_final.p
df (showing GMSL in 2070 of 0.57 m, 0.79 m, and 1.0 m for the Intermediate, Intermediate-High, and High
scenarios, and GMSEL in 2100 of 1.0 m, 1.5 m, and 2.0 m for those same scenarios, respectively).




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analysis to correct this problem is necessary, and should utilize the best available scientific
information available, such as NOAA’s most recent sea level rise projections.77

     D. The agencies cannot rely on proposed mitigation for species impacts in the
        ECMSHCP because the applicant has withdrawn its associated permit application
        and thus the ECMSHCP provides no assurances the mitigation will occur.

The Bellmar applicant and other landowners have been seeking incidental take coverage through
the ECMSHCP for development of 45,000 acres since 2010. In a letter submitted to the U.S. Fish
and Wildlife Service (FWS) in July 2022, the landowners formally withdrew their application for
an incidental take permit.78 However, to-date we have not seen any documentation indicating
that the applicant has informed FDEP that the ECMSHCP application has been withdrawn or that
the applicant has updated its application materials to reflect this significant change. As the
ECMSHCP has been withdrawn by the applicant, any promises from the applicant to adhere to
the tenets of the ECMSHCP are toothless unless incorporated as conditions in the FDEP permit,
if awarded.

Moreover, fatal flaws in the ECMSHCP have not evaporated; our letters regarding the proposal
and the review by experts are enclosed. We do not consider any intent to work towards the tenets
of the ECMSHCP79 adequate to meet the requirements of the state 404 program nor the
Endangered Species Act.

     E. The applicant has failed to provide necessary information for the agencies to
        estimate Bellmar’s effects on the Florida panther.

On August 31, 2022, FWS corresponded with FDEP to request additional time to prepare
appropriate conservation recommendations for the Bellmar project, taking into account the
project’s size, location, and anticipated effects to federally protected species.80 FWS further
indicated the need for information currently missing from the applicant’s biological assessment:


77
   See, e.g., Sweet, W.V., B.D. Hamlington, R.E. Kopp, C.P. Weaver, P.L. Barnard, D. Bekaert, W. Brooks, M.
Craghan, G. Dusek, T. Frederikse, G. Garner, A.S. Genz, J.P. Krasting, E. Larour, D. Marcy, J.J. Marra, J.
Obeysekera, M. Osler, M. Pendleton, D. Roman, L. Schmied, W. Veatch, K.D. White, and C. Zuzak, 2022: Global
and Regional Sea Level Rise Scenarios for the United States: Updated Mean Projections and Extreme Water Level
Probabilities Along U.S. Coastlines. NOAA Technical Report NOS 01. National Oceanic and Atmospheric
Administration, National Ocean Service, Silver Spring, MD, 111 pp., at 23,
https://oceanservice.noaa.gov/hazards/sealevelrise/noaa-nostechrpt01-global-regional-SLR-scenarios-US.pdf
(projecting relative sea level rise in 2100 in the eastern Gulf of Mexico will be 1.2, 1.7, and 2.2. meters under
intermediate, intermediate-high, and high scenarios, respectively)
78 U.S. Fish & Wildlife Service, East Collier Multi-Species ITP/HCP Withdrawal, (posted Sept. 1, 2022)

https://www.fws.gov/library/collections/east-collier-multi-species-itphcp-withdrawal (last accessed Sept. 9,
2022).USFWS response to HCP withdrawal, provided by email on September 1, 2022, and enclosed
79 Eastern Collier Property Owners Letter to USFWS dated 07/28/2022 Withdrawing their Incidental Take Permit

applications, available at https://www.fws.gov/media/eastern-collier-property-owners-letter-usfws-dated-07282022-
withdrawing-their-incidental-take.Letter dated July 28, 2022, from ECPO re: Withdrawal of ECPO Incidental Take
Permit Applications
80 Email from Charles Kelso, U.S. Fish and Wildlife Service, to Toby Schwetje, Florida Department of

Environmental Protection regarding U.S. Fish and Wildlife Service’s initial comments regarding the Bellmar
proposal (Aug. 31, 2022).




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         Because our recommendations are based on anticipated effects of the action, the
         Service will require an estimate of the project’s future effects to the Florida
         panther. Therefore, we recommend updating Applicant’s July 2021 Biological
         Assessment to include an estimate of panther mortality due to traffic volume
         increases upon project completion.81

The agencies had already requested in a prior Request for Additional Information (RAI) for the
applicant to “provide a traffic analysis specific to the Bellmar project. The traffic analysis should
include an estimation of daily trips generated by village residents, employees, and municipal
services and identify the roads these trips will most likely take place on.”82 However, this
information was not provided and yet FDEP still advanced the Bellmar project to Public Notice.

The applicant has obscured the amount of traffic attributable to the Bellmar 404 project, and, as
illustrated above, this information is vital to avoiding jeopardy to the Florida panther. The
applicant has requested “that the USFWS include a proportional level of coverage for the
incidental take expected as a result of the Project in the incidental take statement for this action”
should FDEP complete their review before an ITP is issued.83 However, critical information in
which the agencies would need to ensure roadkill mortalities are adequately considered and
avoided is not provided.

We are aware that in materials submitted to Collier County (Attachment A), the applicant’s
traffic engineer calculated that total traffic created by the 1,000 acre Bellmar Village would be
26,232 trips per day.84 Please note that this estimate is for only part of the state 404 project
area—there are more than 700 acres, 1,000 additional residential units, and commercial
development not included in this estimate that, if developed, will generate thousands of
additional trips to this total.

The table below summarizes the information available through the Collier County materials in
regard to the Bellmar 404 application and a portion of the Rural Lands West state 404 project.85
This 404 application is fairly equivalent to the village of Bellmar and most of the town connector
as seen in the table below.




81 Id.
82 FDEP, 2021. Request for Additional Information, Bellmar. August 20, 2021.
83 Letter from Applicant to FDEP dated April 14, 2022, page 14
84 Traffic Impact Statement for Bellmar Stewardship Receiving Area (SRA) by Treblicock Engineering for Collier

Enterprises dated August 19,2020, p. 7, Table 2. The project footprint for the Bellmar SRA is at least 700 acres less
than the state 404 project that is the subject of this letter.
85 Traffic Impact Statement for the Town of Big Cypress SRA, Section 1, Road Segment Analysis, Trebilcock

Consulting Solutions, June 2022,Page 7. The Town of Big Cypress SRA, as known at the Collier County level,
includes the state 404 Bellmar project, and a portion of the Rural Lands West state 404 project. There would be
about an additional 1,000 acres of development added to these figures as part of the Rural Lands West state 404
project footprint.




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                                       TOWN OF BIG CYPRESS
                                            Estimated daily trips generated
                           Rivergrass86                23,929
                           Longwater87                 24,919
                           Bellmar88                   26,232
                           Town Connector              64,125

                                                               139,205*

                                                   *Does not include a portion of
                                                   the state 404 Rural Lands West
                           Total 89                project

                           Bellmar state 404
                           application                           90,357

We emphasize that the application trips are the best estimate the public currently has access to,
given that the applicant has failed to provide the required traffic and transportation information.
The total daily trips generated are likely to be more than what we show here. The agencies
should not proceed with decisionmaking on the Bellmar permit until the applicant provides this
necessary information. To determine species effects, mitigation, or make a jeopardy
determination without this information would violate the ESA’s core requirement to use the best
available science,90 as well as the technical assistance process’s requirement that applicants
provide sufficient information to review potential adverse impacts to listed species and critical
habitat.91

II.      Bellmar Is Inconsistent with the State 404 Program, 62-331, F.A.C.

      A. The alternatives analysis is inadequate.

The project identifies an approximately 1,790-acre footprint in eastern Collier County that is
proposed for construction of a master-planned community. We note for the record that there is no



86 Traffic Impact Statement for Rivergrass SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, August 2019, Page 7.
87 Traffic Impact Statement for Longwater SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, March 2020, Page 7.
88 Traffic Impact Statement for the Bellmar SRA, Section 1, Road Segment Analysis, Trebilcock Consulting

Solutions, August 2020, Page 7.
89 Traffic Impact Statement for the Town of Big Cypress SRA, Section 1, Road Segment Analysis, Trebilcock

Consulting Solutions, June 2022, Page 7.
90 16 U.S.C. § 1536(a)(2); 404 Programmatic BiOp at 5.
91 404 Programmatic BiOp at 16 (“Applicants submitting a State 404 permit application will be required to submit

information that allows the State of Florida (FDEP and FWC) to sufficiently assess potential adverse impacts of the
proposed project on listed species and their designated critical habitats and allow the USFWS to review and provide
technical assistance as needed (62-331.051, F.A.C.).”).




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public benefit of the project, and rather, the public’s resources and interests are threatened by the
Bellmar project.

The state rules governing section 404 permitting state that FDEP shall not grant a permit “if there
is a practicable alternative to the proposed activity which would have less adverse impact on the
aquatic ecosystem.”92 We disagree with the applicant that there is “no less environmentally
damaging practicable alternative.”93

The general project purpose of providing a master-planned community can be achieved while
avoiding and minimizing impacts to wetlands and listed species habitats, such as Florida panther
Primary Zone habitat and crested caracara primary nest buffer, when considering other site
alternatives, as required.94

The applicant improperly restricts the alternatives they are considering to areas that are 2,000
acres or greater, within eastern Collier, within the Collier County Rural Lands Stewardship
Program, and ECMSHCP. There may be lands with less impact to natural resources that are of a
different size and outside of these boundaries that should have been considered as an alternative.
We note the ECMHCP is withdrawn as of July 28, 2022, and cannot be relied on by the applicant
to ignore all alternatives. This change requires the applicant to redo and resubmit a new
alternatives analysis including non ECMSHCP properties.

The applicant offers no evidence, that 2,000 acres is required for a master-planned community.95
In fact, we contend that approving this type of sprawling development is damaging to the future
of Florida as it erodes the urban rural boundary and removes important agricultural lands from
production. There are many examples both in and out of Florida using smart growth design that
provide the desired number residences as well as commercial development on sites significantly
smaller than 2,000 acres.

Sustainable, compact development – which the proposed project is not – would also appeal to
“ecologically minded consumers”96, and truly ecologically minded consumers would not support
destroying important panther habitat needed for survival and recovery of the Florida panther.

Further, the applicant failed to consider other sites, even those not owned by the applicant, which
can serve the general residential and commercial uses proposed by this project in an area closer
to existing development, outside of primary panther habitat, and not adjacent to a wildlife
refuge.97 The applicant does not fully consider lands directly north of the Bellmar parcel as
alternatives. The alternative analysis speaks to “Parcel 5” as containing lands that would meet

92 62-331.053, Florida Administrative Code.
93 Bellmar Alternatives Analysis, April 2022, page 1.
94 Florida Department of Environmental Protection, 2020. State 404 Program Applicant’s Handbook. Effective

December 22, 2020; 62-331, Florida Administrative Code.
95 Bellmar Alternatives Analysis, April 2022, page 1.
96 Bellmar Alternatives Analysis, April 2022, page 1.
97 Florida Department of Environmental Protection, 2020. State 404 Program Applicant’s Handbook. Effective

December 22, 2020, Appendix C, p. 57 states If it is otherwise a practicable alternative, an area not presently owned
by the applicant that could reasonably be obtained, utilized, expanded, or managed in order to fulfill the overall
purpose of the proposed activity can still be considered a practicable alternative. In other words, if an applicant does
not own an alternative parcel, that does not rule that parcel out as a practicable alternative.




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the applicant’s constrained restrictions, but it does not go on to fully consider these areas as
alternatives.

Within Parcel 5, there are more than 20,000 acres, many of which are owned by the applicant
(not a limiting factor), and others recently sold to Gargiulo (who also owns part of this pending
Bellmar project area) (see Attachment B).

The applicant appears to not consider lands to the north because of the also-proposed Rural
Lands West state 404 application, which is not a justifiable reason to exclude from the analysis.

Importantly, there are also lands to the north of both Bellmar and Rural Lands West that should
be considered as an alternative. There are lands north of Oil Well Road that are also
contemplated for future development, as evidenced by the ECMSHCP. The Conservancy of
Southwest Florida has recommended Collier Enterprises move its developments to this area since
the area would result in little to no Primary Zone panther habitat to be impacted. In fact, the
Service asked the applicant to consider this northern area as an alternative to avoid and minimize
listed species impacts, when the Rural Lands West project was seeking a permit from the U.S.
Army Corps of Engineers.98

Instead of providing an Alternatives Analysis that would satisfy the state 404 program
requirements, the applicant vies for developing the entirety of Parcel 5, with this Bellmar
application and several other proposals.

To make matters worse, the applicant provided no scenario that considered a smaller footprint, or
any footprint that would avoid the primary zone for the active caracara nest on the site or
redesign stormwater lakes to avoid wetland impacts. Most of the wetland impacts are coming
from the choice to place stormwater lakes into wetlands. With a project size of over 1,700 acres
there is no excuse to use the adjacent wetlands to dredge stormwater lakes; such development
uses could be contained within uplands.

The applicant did not adequately analyze “alternative on-site configurations” or “extensively
redesign the Project to avoid and minimize impacts.”99 If that were true, the applicant would
have made a small adjustment to the footprint to avoid impacts to the primary zone of the
caracara nest in the center of the property. Avoiding this caracara primary zone would require an
alteration and avoidance of approximately 52 acres. This has never been done, and it undermines
the applicant’s genuine interest in avoiding and minimizing impacts. It is particularly egregious
for the applicant to state that their “development should be designed to incorporate protection
and preservation of habitat and natural resources”100 in light of their refusal to avoid the primary
zone of this existing caracara nest.



98 Letter from U.S. Fish and Wildlife Service to Army Corps of Engineers regarding Collier Enterprises

Management, Inc. project Town of Big Cypress dated November 18, 2008. “The Service recommends the
alternatives analysis includes alternative project sites and configurations that avoid and minimize the impacts to
wetlands and open waters, as well as minimize impacts to endangered species. Specifically, other appli cant-owned
lands north of Oil Well Road may be more suited to a development of this sort.”
99 Bellmar Alternatives Analysis, April 2022, page 1.
100 Bellmar Alternative Analysis, April 2022, page 7.




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In sum, the applicant has failed to provide an adequate analysis of less damaging alternatives.
Furthermore, FDEP should consider a “no action alternative.”101 The impacts of the proposed
project are contrary to the public interest.

    B. The application fails to adequately analyze secondary effects.

The Bellmar project also fails to meet the requirements to adequately consider secondary
impacts. FDEP must consider secondary effects from proposed activities, particularly on
sanctuaries and refuges.102 These areas, as the FDEP Handbook states, are “managed principally
for the preservation and use of fish and wildlife resources,” and dredge and fill activities may
“result in the establishment of undesirable competitive species of plants and animals,” or
“change the balance of water and land areas needed to provide cover, food, and other fish and
wildlife habitat requirements in a way that modifies sanctuary or refuge management
practices.”103

We note that Collier Enterprises Management Inc. discusses its “long tradition of environmental
stewardship,” land transfers, and sales in its response to the request for additional information.104
But that generalized historical narrative does nothing to address the harmful impacts of the
applicant’s proposal on the Florida panther and other natural resources through this project. The
Bellmar project will destroy more than 1,700 acres of the most important and critical category of
delineated panther habitat, will infringe on and fragment a landscape corridor, and cause
additional panther and other species mortalities due to habitat loss and vehicle collisions, while
adding more than 8,600 new residents in an area heavily utilized by wildlife. In fact, the
applicant’s proposed project threatens the future integrity of the Florida Panther National
Wildlife Refuge, one of the lands they mention in their history. As they note, the Refuge was
founded with the purpose of protecting Florida panthers and their habitat.105 However, the
Bellmar project is a direct affront to this publicly held sanctuary.

The FPNWR has informally and formally shared concerns regarding both the Rural Lands West
and Bellmar projects since 2006.106 Major concerns of the FPNWR managers even then was the
impact of these developments on hydrology and prescribed fire use. Staff wrote “building a
community adjacent to the west side of the refuge would severely limit or prohibit prescribed
burning to nearly half of the refuge fire units due to smoke management limitations…. Staff is
concerned that the new developments will cause more water to either be stored in retention
ponds, thereby reducing water flow into the refuge or developments will increase runoff into
Camp Keais Strand, which flows into the refuge.”107 Already-altered hydrology has shifted the
land cover on the FPNWR to dense cabbage palm, and the Refuge expends considerable effort in

101 Florida Department of Environmental Protection, 2020. State 404 Program Applicant’s Handbook Effective

December 22, 2020, Section 8.3.1.
102 Florida Department of Environmental Protection, 2020. State 404 Program Applicant’s Handbook Effective

December 22, 2020, Section 8.3.6.
103 Florida Department of Environmental Protection, 2020. State 404 Program Applicant’s Handbook Effective

December 22, 2020, Section 8.3.6.
104 Passarella & Associates, Inc., 2021. Bellmar Biological Assessment. July 2021, p. 1.
105 Id. at 2-4.
106 Meeting notes and staff summaries regarding Rural Lands West and Bellmar projects impacts to listed species

and impacts to FPNWR, dated 2006. Received through Freedom of Information Act request.
107 Id.




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vegetation management and prescribed fire to maintain the publicly-held refuge as suitable
habitat for the Florida panther and its prey.

These same concerns about degradation to the 26,400 acres of the FPNWR were echoed
repeatedly, in the Refuge staff comments on the ECMSHCP and in a letter to Collier County
when the local authorizations for Bellmar were sought.108

In a 2016 letter from FPNWR, the Panther Review Team (PRT) configuration alternative was
recommended. This alternative would “protect critical linkages and buffer areas.”109 The PRT
alternative would mean the Bellmar property would not be intensified above existing agriculture
and would not be developed (Attachment C).

Both the 2016 and 2021 letters shared concerns that development contemplated in the
ECMSHCP would encroach upon conservation areas like the FPNWR. Because of the Refuge’s
position against roadways I-75 and State Road 29, prescribed burn can only direct smoke in the
direction of Bellmar and Rural Lands West.

While we understand that efforts were made to provide smoke easement language, future Florida
Forest Service authorizations for burning are not assured, once these massive developments are
built. If Rural Lands West and Bellmar are built, they would place about 19,170 people -a
population about the size of the City of Naples110- in direct conflict with management of the
Refuge. The FPNWR currently is the most densely occupied Florida panther habitat111 and any
degradation or encroachment of the adjacent-proposed development would be an unacceptable
secondary impact and could also contribute to jeopardy for the Florida panther.

    C. FDEP must analyze all cumulative effects.

Under the state 404 program, FDEP must also consider the impact of cumulative effects. As in
the sections above, there are a number of projects both pending before the agency or otherwise
reasonably foreseeable, that contribute to unacceptable cumulative impacts.

From just seven state 404 applications, there would be over 1,000 acres of wetlands lost.112
Further, FDEP is also currently considering additional proposed state 404 actions. There are 259
activities reviewed or under review as part of the state 404 program within 5 miles of Bellmar,
and 785 within 25 miles of Bellmar (Attachment D and Attachment E).113 Though these actions



108 Letter from Florida Panther National Wildlife Refuge to U.S. Fish and Wildlife Service Ecological Services Re:

Public Comment Eastern Collier Multispecies Habitat Conservation Plan and EIS, August 25, 2016; Letter from
Florida Panther National Wildlife Refuge to Collier County Planning Commission Re: Longwater and Bellmar
Village SRA Resolutions, March 1, 2021.
109 Letter from Florida Panther National Wildlife Refuge to U.S. Fish and Wildlife Service Ecological Services Re:

Public Comment Eastern Collier Multispecies Habitat Conservation Plan and EIS, August 25, 2016.
110 City of Naples census population, as of 2020.
111 Dorazio & Onorato, 2015. Estimating the Density of Florida Panthers Using Camera Trapsand Telemetry -

Report for Phase I of the Project, final report.
112 Bellmar, Rural Lands West, Hogan West, Immokalee Road Rural Village, FFD, Troyer Mine, Kingston.
113 Based on ArcGIS analysis. Feature Layer from Florida Department of Environmental Protection, Managed by

FDEPOpenDataPortal.




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may be small or large projects, the total cumulative impacts on wetlands and aquatic resources
must be considered.

       D. Bellmar will have adverse effects on aquatic ecosystems, including listed species and
          their habitats.

The state’s 404 program stipulates that no permits can be granted for projects that would cause or
contribute to significant degradation of wetlands, which can include adverse effects on wetland-
dependent species, ecosystem diversity, and fish and wildlife habitat.114 Wildlife surveys
provided by the applicant show how valuable this area is for a multitude of state and federally
listed species. We address quite a bit of this in our prior letters on Bellmar, however, we provide
the new or updated information as below, including an analysis by panther habitat modeling
expert, Dr. Robert Frakes. Bellmar’s impacts to fish and wildlife and their habitats is significant
and unacceptable, and thus the permit should be denied.

           1. Bellmar will have unacceptable impacts on the Florida panther.

The Bellmar project site is an important area for the endangered and wetland-dependent Florida
panther. There have been 112,065 telemetry points collected from Florida panthers since 1981
through 2022, from at least 267 panthers.115 Looking at just a 5-mile area around the Bellmar
site, 8.3% of all documented telemetry points and 29.2% of all collared panthers fall within this
area.

The Bellmar project is completely comprised of Primary Zone habitat and nearly all Adult
Breeding Habitat area – two models depicting the most critical lands to the survival and recovery
of the Florida panther. It is situated close to the FPNWR and a critical linkage called Camp Keais
Strand is within and adjacent to the project.

The 2020 draft HCP BiOp described a range of impacts to the Florida panther from development
in Eastern Collier:

       ● Increased mortality from intra-specific aggression among panthers displaced by proposed
         development and human activity;
       ● Increased mortality and decreased individual fitness caused by intensification of intra
         and inter- specific competition;
       ● Increased predation of panther kittens from other predators when preferred prey
         populations decline;
       ● Effects to individuals from habitat loss, degradation, and fragmentation because of new
         roads connecting new areas of development to one another and the existing road network;
       ● Increased injury and mortality from collisions with traffic on new roads;
       ● Management removal because of depredation and human/panther interactions;
       ● Increased exposure to disease; and
       ● Increased exposure to toxins.116


114 62-331.053, Florida Administrative Code.
115 https://geodata.myfwc.com/datasets/myfwc::florida-panther-telemetry/about
116
      2020 draft HCP BiOp at 125.




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To review the impacts to Adult Breeding Habitat, panther habitat modeling expert Dr. Robert
Frakes utilized a landscape-scale panther habitat model that was described in Frakes, et al,
2015.117 The model analyzes forest land cover and forest edge, human density, and road density,
amongst other factors to determine suitable breeding habitat for the panther.

Using this published model with updates, Dr. Frakes compared the existing conditions to post-
project scenario for Bellmar alone as well as Bellmar and RLW together. There is one set of
maps to show the raw results and one set to show in an interpolated model that “smooths” the
cells.

Frakes et al., 2015 acknowledges that “protection of the remaining breeding habitat in south
Florida is essential to the survival and recovery of the subspecies and should receive the highest
priority by regulatory agencies.”118 Yet, adult breeding habitat maps show that Bellmar alone
will cause the loss of 10 km2 (2,471 acres) of breeding habitat.

When Bellmar is combined with RLW, it would cause a combined loss of 23 km 2 (5,683 acres).
The interpolated maps show a significant narrowing of the Camp Keais Strand dispersal corridor,
especially when Bellmar and RLW are considered together.

Allowing Bellmar to move forward will have unacceptable direct and indirect impacts on panther
habitat and corridor connections.




117
    Frakes, R.A., Belden, R.C., Wood, B.E. & James, F.E. (2015). Landscape analysis of adult Florida panther
habitat. PLoS One 10, e0133044.
118 Id. at 15-16.




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We note for the record that in addition to the direct impacts to areas with development, the
Public Notice states that “[m]anagement objectives to the preserves adjacent to development will
the implemented to limit prey and foraging conditions that otherwise may attract panther and
bears”.119 We need clarification on what this means and assurance that if permitted, the applicant
will not be seeking or be given Panther Habitat Unit (PHU) credits for lands that are actively
being managed to deter panthers. The PN states that the proposed project will need 1,793.4 acres
and the estimated PHU credits needed are 16,844.120 The PN then states that the conservation
areas of the project exceed this amount by providing 18,648 PHUs. 121 However, without a map
detailing the areas being considered, there is no way to ensure that the applicant is considering
preserves being managed to deter panthers as impacted and that these preserves are not being
used for compensation.

Further, in the 2020 draft HCP BiOp, the FWS recommended more than 25 different actions to
minimize impacts on the Florida panther, including the following:

    ● Maintain internal traffic capture of each development at or above 50 percent.
119 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 3.
120 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 5.
121 State 404 Program Public Notice for Permit Application No. 396364-001 dated August 16,2022, at 5.




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    ● Prohibit residents from keeping domestic animals (chickens, goats, etc.) that attract
      panthers and other predators.
    ● Require full vaccination of all pets in new developments from diseases that can be
      acquired by panthers.
    ● Require pets be kept indoors, leashed, or maintained in fenced enclosures at all times.
      Encourage residents to feed pets indoors and to not leave pet food dishes outside.
    ● Encourage residents to clean grills and store them indoors when not in use.
    ● Minimize the use of bird feeders and supplemental feeding stations for deer and other
      game species.
    ● Require residents to deer proof gardens.
    ● Restore agricultural lands to native habitats that are more beneficial to the panther,
      especially forested habitats, and maintain in perpetuity. 122

We have no indication from the applicant whether they are going to follow or incorporate this
advice into the proposed development. These draft recommendations should inform the
evaluation of whether the project should be authorized absent any commitment by the applicant
to implement them, for example, by informing whether the proposal is in the public interest or
meets requirements to minimize impacts. The agencies should also consider whether these
recommendations should be incorporated as binding permit terms to ensure that impacts are
minimized.

        2. Bellmar will have unacceptable impacts on the Florida bonneted bat.

The applicant’s Florida bonneted bat (FBB) survey, dated July 2021, found that calls were
recorded “within the time frame considered by USFWS that roosting is likely nearby
(Attachment F).”123 Thus, the agencies need to look closely at not only how Bellmar would
impact proposed critical habitat, but also foraging and roosting within the project. If the Bellmar
project will impact a roost(s), there is an increased likelihood that Bellmar would also pose
jeopardy to the bonneted bat. Based on our review, the applicant has not adequately addressed
this issue.

We also note that this project is in FBB Proposed Critical Habitat (PCH), specifically Unit 3 of
the PCH (Attachment G).

    E. Ownership and other information must be addressed.

        1. Ownership within the Project Boundary

It appears that the applicant does not, in fact, own all of the property contained in the application
(Attachment H). About 503.57 acres were sold in June 2019 to Gargulio, Inc. This is 9.8% of the
5,105.49 acres. We note that Gargulio does not appear to be indicated as or listed as an adjacent
property owner and is not part of the permit notice. To our knowledge, Gargulio is also not an
applicant. While it appears that the Gargulio property is not designated as development or
conservation, it does call into question the appropriateness of including this property in the

122 2020 draft HCP BiOp at 320.
123 Passarella & Associates, Inc., 2021. Bellmar Florida Bonneted Bat Acoustic Survey Report. Prepared for Collier

Enterprises Management, Inc. July 2021.




                                                                                                                31
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Bellmar 404 boundary without the documented acknowledgement of the property owner. The
agencies should determine why land not owned by the applicant is included in the boundary of
the application.

                                    Parcel ID    Acres
                                       354930004  96.88
                                       354960207   9.03
                                       354520100 225.97
                                       354480606 171.69

                                    TOTAL             503.57

This information was found on the Collier County Property Appraiser on October 15, 2021,
confirmed on August 30, 2022.

       2. The applicants have yet to comply fully with all requests for additional
          information.

In addition to the other RAI request that was not addressed, as discussed above, the following
RAI comments from the August 20, 2021 RAI letter have not been addressed in part or in full:

Excerpt from the Agency RAI:

25. Page 34 of the BA addresses incidental take of the project by referring to the HCP. The ITP
has not been issued yet. Therefore, please provide a stand-alone analysis of incidental take for
each species that will have take (as defined by the ESA) associated with the Bellmar project. In
order to remain within the State 404 process, a project must not cause jeopardy. Please provide
an analysis supporting that the Bellmar project is not likely to cause jeopardy to the panther.

The applicant’s response to this request is not adequate because the ECMSHCP has been
withdrawn. To date, we have not seen any new information submitted to FDEP and FWC
informing them that the ECMSHCP has been withdrawn.

Excerpt from the Agency RAI:

34. The provided plans do not seem to provide any indication of the proposed lot size. What is
the approximate site of each residential lot? How many residences are proposed or anticipated?



The applicant refers to the Town Connector as intended for commercial uses, however at least
1,000 residential units – both affordable and market rate – are also proposed along with the
commercial uses. The applicant should be required to answer this question completely and in
adequate detail to ensure that the impacts of its proposal, in particular the traffic-inducing
impacts, are assessed accurately.




                                                                                                 32
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Excerpt from the Agency RAI:

48. What are the potential effects of the project on the Florida panther, including the direct,
indirect, interrelated, and interdependent effects? What is the extent of habitat loss that would
result from the proposed project?

The applicant avoids answering these questions. The applicant must address these issues and
answer these questions fully and directly.

Excerpt from the Agency RAI:

50. How would the proposed mitigation offset the proposed impacts to the panther?

The assessment includes a traffic analysis section but does not specifically address the extent of
the proposed traffic increases that would result from the implementation of the project. What is
the specific anticipated increase in traffic (volume, location, etc.) and how would that increase
impact the panther?

The applicant has refused to answer these questions. Particularly, in light of the analysis in the
2020 draft HCP BiOp and 2021 draft HCP BiOp, the applicant must address these issues and
answer these questions fully and directly.

III.   Conclusion

Thank you for considering our comments. We ask that you deny the Bellmar project because it
would pose unacceptable direct, indirect, and cumulative impacts, and would seal the fate of the
Florida panther. Bellmar, and other reasonably foreseeable projects, would not only remove
habitat, but also would cause increased roadkill, increase human-wildlife interaction, and pose
threats to trust resources and properties in conservation. Furthermore, Bellmar is inconsistent
with the requirements of the State 404 Program.

Please note that this letter does not constitute support for the state-assumed section 404
permitting program, which we believe is unlawful.

Sincerely,




Julianne Thomas
Senior Environmental Planning Specialist
(239) 262-0304 x 252
 juliannet@conservancy.org




                                                                                                     33
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Amber Crooks
Environmental Policy Manager
(239) 776- 5601
amberc@conservancy.org




Karimah Schoenhut
Staff Attorney
Sierra Club
Sierra Club Environmental Law Program
50 F Street NW, 8th Floor
Washington DC 20001
Phone: 202-548-4584
karimah.schoenhut@sierraclub.org




Elise Pautler Bennett
Florida Director & Senior Attorney
Center for Biological Diversity
P.O. Box 2155
St. Petersburg, Florida 33703
(727) 755-6950
ebennett@biologicaldiversity.org

Cc:
Shannon Estenoz, Assistant Secretary for Fish and Wildlife and Parks, Department of Interior
Bob Carey, Environmental Review Branch Manager, USFWS
Jose Rivera, Environmental Review Supervisor, USFWS
John Truitt, Deputy Secretary, FDEP
Jon Iglehart, South District Director, FDEP
Megan Mills, Permitting Administrator, FDEP
Toby Schwetje, Environmental Specialist III, FDEP
Jason Hight, Director Office of Conservation Planning Services, FWC
Jeaneanne Gettle, Director of Water Division, EPA
Rosemary Calli, Section Chief Wetlands & Streams, EPA
FWC records FWCConservationPlanningServices@myfwc.com
FDEP records SD-ERPcomments@floridadep.gov




                                                                                               34
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Attachment A




                                                                                35
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Attachment B




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Attachment C124




124
   Florida Panther Protection Program Technical Review Team, 2009. Technical Review of the
Florida panther Protection program Proposed for the Rural Lands Stewardship Area of Collier
County, Florida. Final Report. Note that the PRT did not analyze the Big Cypress DRI (AKA
Rural Lands West) but did find that the Bellmar state 404 area should be retained in no more
intense than current agricultural uses.



                                                                                            37
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Attachment D




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Attachment E




                                                                                39
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Attachment F125




125
      Calls indicating roost nearby at stations #1, 16, 18, 20, 26, 28.




                                                                                                              40
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Attachment G




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Attachment H




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                         Attachment C
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Via electronic mail to




                         Center for Biological Diversity v. U.S. Environmental Protection Agency
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Existing Damage Caused by Oil Exploration in the Preserve Remains




 See
October 20th, 2020 Burnett O                              D Seismic Oil and Gas Exploration in the Big Cypress
National Preserve
                                                Summary of March 6, 2020 Site Assessment within Burnett Oil
                            D Seismic Oil and Gas Exploration area, Big Cypress National Preserve, Collier
County, Florida

                                                                                          D Seismic Oil and
Gas Exploration in the Big Cypress National Preserve

                                                Seismic Survey Inspection Report, Big Cypress National Preserve

                  Phase I Seismic Survey Inspection Report, Big Cypress National Preserve


 Id.
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                                      D Seismic Oil and Gas Exploration in the Big Cypress
National Preserve
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Impacts from Proposed Oil Development Must Not be Piecemealed




                                       D Seismic Oil and Gas Exploration in the Big Cypress National
Preserve
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  A. Upstream (Well) Development Activities




  B. Midstream (Pipeline) Development Activities




See                        Oil & Gas Coalition Multi-State Habitat Conservation Plan
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       C. Greenhouse Gas Emissions from Oil Development, including Downstream Activities, and
          Climate Change




                                                   Summary for Policymakers in



                      Summary of IPCC 1.5°C Report

                                                                                NCA4
  Id
                                                      Climate Change 2014 Synthesis Report: Contribution of
Working Groups I, II, and III to the Fifth Assessment Report of the Intergovernmental Panel on Climate Change
                                                    AR5
 NCA4


USGS 2018 Report
 Id
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Formal Government-to-Government Tribal Consultation is Required




Public Records Request under Chapter 119, Florida Statutes




                   Executive Order on Tackling the Climate Crisis at Home and Abroad


                   Memorandum on Tribal Consultation and Strengthening Nation-to-Nation Relationships


  See                           Supplemental Analysis for Greenhouse Gas Emissions Related to Oil and Gas
Leasing in Utah, DOI-BLM-UT-0000-2021-0001-EA
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Conclusion and Formal Meeting and Notice Request




                                          Why Drill for Oil in Florida? Tiny Industry, Huge Risks
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August 20, 2021



David White
Environmental Specialist II
Florida Department of Environmental Protection
3300 PGA Boulevard, MSC 7210-1
West Palm Beach, FL 33406


Re: State 404 Permit Application No. 13-396515-001-SFI

Dear Mr. White:

The Miami-Dade Expressway Authority (MDX) submitted a 404-permit application to the United States
Army Corps of Engineers (USACE) as part of the federal review process under Section 404 and the National
Environmental Policy Act (NEPA). This permit application was transferred to the Florida Department of
Environmental Protection (FDEP) under the recently approved State 404 Permit Program.

In correspondence with both the South Florida Water Management District (SFWMD) and the FDEP
regarding the Environmental Resource Permit (ERP) and State 404 permit applications, both agencies have
recommended that the process be pursued through joint agency collaboration. Due to the extent of the
project and to ensure the ERP permit application submissions meet agency requirements, the MDX is
engaging with the SFWMD through a pre-application process. A formal application has not yet been
submitted to the SFWMD.

Since the State 404 authorization cannot be issued until the ERP has been issued (as per FAC 62-331.070),
the MDX would like to respectfully withdraw the current State 404 permit application (application no. 13-
396515-001-SFI) and continue the project review through a pre-permit application process with the FDEP.

The MDX would like to engage in this review of pre-permit application documents with the FDEP, initiated
through a written agreement between the two agencies. In addition, we would like confirmation of the
time frames for review of these pre-application documents, since the FDEP 404 Handbook does not
provide for such.
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If you have any questions or comments, please feel free to reach me at (305) 637-3277 ext. 2115 or
jtoledo@mdxway.com.

Sincerely,


Juan Toledo, P.E.
Deputy Executive Director/Director of Engineering

Cc: Jeffery Meyer, Environmental Manager, ERP Permitting (FDEP)
    Norva Blandin, Program Administrator, Permitting & Waste Clean-up (FDEP)
   Claudio Diaferia, M.S., P.E., Assistant Director of Engineering (MDX)
    Kevin Brown, Program Director (MDX/HNTB)
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                                                Everglades Coalition
1000 Friends of Florida
                                             July 26, 2019
Arthur R. Marshall Foundation
Audubon Florida
Audubon of Southwest Florida                 Megan Clouser
Audubon of the Western Everglades
Audubon Society of the Everglades
                                             Senior Project Manager
Backcountry Fly Fishers of Naples            U.S. Army Corps of Engineers
Calusa Waterkeeper
Cape Coral Friends of Wildlife
                                             9900 SW 107th Avenue, Suite 203
Center for Biological Diversity              Miami, FL 33176
Conservancy of Southwest Florida
Defenders of Wildlife
“Ding” Darling Wildlife Society
Earthjustice
                                             Re: Opposition to 404 Wetland Degradation Permit Application for 836
Environment Florida                          Extension Permit Application No. SAJ-2018-01778 (SP-MLC)
Everglades Foundation
Everglades Law Center
Everglades Trust                             Dear Ms. Clouser:
Florida Bay Forever
Florida Conservation Voters Education Fund
Florida Defenders of the Environment
Florida Keys Environmental Fund
                                             The Everglades Coalition - comprised of 62 organizations committed to the
Florida Native Plant Society                 health and protection of America’s Everglades - opposes the proposed 404
Florida Oceanographic Society
Friends of the Arthur R. Marshall
                                             Wetlands Degradation permit sought by the Miami Dade Expressway
Loxahatchee National Wildlife Refuge         Authority (MDX) for the purpose of developing a six-lane toll road
Friends of the Everglades
Hendry-Glades Audubon Society                extending State Road (SR) 836 through jurisdictional wetlands within the
International Dark-Sky Association,
FL Chapter
                                             Comprehensive Everglades Restoration Plan’s (CERP) footprint. We ask
Izaak Walton League of America               that this permit be denied, and that MDX consider other existing hybrid
Izaak Walton League Florida Division
Izaak Walton League Florida Keys Chapter
                                             alternatives that do not bisect the Bird Drive Basin and instead take
Izaak Walton League Mangrove Chapter         advantage of existing infrastructure. The detrimental impacts to the CERP
Lake Worth Waterkeeper
Last Stand                                   footprint are unnecessary and avoidable.
League of Women Voters of Florida
Martin County Conservation Alliance
Miami Pine Rocklands Coalition               CERP was authorized by Congress to “restore, preserve, and protect the
Miami Waterkeeper
National Audubon Society
                                             South Florida ecosystem while providing for other water-related needs of
National Parks Conservation Association      the region, including water supply and flood protection.”1 While we
National Wildlife Refuge Association
Natural Resources Defense Council            recognize CERP is not static and uses adaptive management to evolve, we
North Carolina Outward Bound School
Ocean Research & Conservation Association
                                             also recognize that preserving the east coast buffer within the ecosystem
Peace River Audubon Society                  will likely be more important than ever to improve water quality and
Reef Relief
Sanibel-Captiva Conservation Foundation
                                             eliminate harmful discharges to the east and west as we seek to increase the
Sierra Club                                  ability to send more water south to this very transmissive area for aquifer
Sierra Club Florida Chapter
Sierra Club Broward Group                    recharge. The proposed project has damaging impacts to CERP. Most
Sierra Club Calusa Group
Sierra Club Central Florida Group
                                             notably, the project involves construction of a permanent fixture in a very
Sierra Club Loxahatchee Group                low-lying area, which will require additional flood and groundwater
Sierra Club Miami Group
Snook and Gamefish Foundation
                                             protection measures. Further, the project’s induced development will drive
South Florida Audubon Society                up the cost of land needed for acquisition, potentially eliminating willing
Southern Alliance for Clean Energy
The Florida Wildlife Federation              sellers. These impacts undermine the goals and benefits of CERP and set a
The Institute for Regional Conservation
The National Wildlife Federation
                                             negative precedent.
The Urban Environment League of
Greater Miami
Theodore Roosevelt Conservation
Partnership
Tropical Audubon Society
                                              1 Comprehensive Everglades Restoration Plan (CERP), National Park Service,

                                              https://www.nps.gov/ever/learn/nature/cerp.htm.


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                    450 N. Park Road # 301, Hollywood FL 33021 │ www.evergladescoalition.org │ info@evergladescoalition.org
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MDX’s current proposal poses a particular threat to the Bird Drive Recharge Area (BDRA) project
within CERP. The goals of this project include reducing seepage from Everglades National Park
to improve the hydrology of the park’s ecosystem, recharge groundwater east of Krome Avenue
to improve Miami-Dade County water supply, improve the spatial extent of wetlands, and improve
water supply to the South Dade Conveyance System.2 A fully-developed plan for the Bird Drive
Basin (BDB) has not yet been identified. Until critical project components have been fully modeled
and defined, a project like this six-lane tollway cutting through the project footprint is premature
and threatens critical federal initiatives to protect and restore Everglades National Park.

The Everglades Coalition has opposed the expansion of the SR 836 into the sensitive and CERP-
critical wetlands west of the Miami-Dade County Urban Development Boundary (UDB) since
2013. The Everglades Coalition passed a resolution in opposition to the project in May 2013, sent
a letter to MDX stating our opposition to the current iteration of their plans in April 20153, and
sent a letter to the South Florida Water Management District (SFWMD) detailing the impacts this
project would have on CERP and the broader Everglades ecosystem in July 2018.4 The negative
impacts of this project on CERP necessitate the denial of the applicant’s permit request.

Impacts to CERP Bird Drive Recharge Area

The physical presence of a major roadway would undermine CERP viability within the BRDA
footprint because a central aspect of the project involves developing the ability to store surface
water up to four feet, allowing for aquifer recharge. We are also concerned with how increased
light pollution and noise in close proximity to Everglades National Park will not be compatible
with wildlife and endangered species that use this area for foraging and nesting such as snail kites,
panthers, bonneted bats, and woodstorks.

The BDRA is linked to both upstream CERP projects and the downstream South Dade Conveyance
System (SDCS). The BDRA can provide water storage year-round and release water to the SDCS
throughout the dry season. Modeling performed by Dr. Thomas Van Lent of the Everglades
Foundation demonstrates that the successful implementation of the BDRA project is critical to
prevent dry season water shortages in South Dade and to maintain a freshwater head that helps
fight against saltwater intrusion at coastal structures.5 With the full seepage barrier
implementation, this recharge may be more important to this region than previously modeled, as
the CERP model run only modeled for a seepage barrier that was partially engaged.

At their July 11, 2019 meeting, the South Florida Water Management District (SFWMD)
Governing Board discussed the importance of BDRA project’s north-south connectivity as a part
of overall efforts to restore this critical area of the ecosystem. Specifically, the east coast buffer
provided by the project and spatial extent of wetlands were discussed as critical CERP components
needed to send clean water south. While the BDRA project was delayed for a restudy purpose in


2 https://www.sfwmd.gov/sites/default/files/documents/bdrupdate_eb_12_14_11.pdf
3 EVCO Ltr RE: 836/Dolphin Expressway Southwest Extension (Project 83618), 4/3/2015.

https://docs.wixstatic.com/ugd/599879_33911d71b9344705b62b72ed3730f649.pdf
4 EVCO Ltr RE: Re: Kendall Parkway Comprehensive Plan Amendment, State Application Review, 7/31/2018,

https://docs.wixstatic.com/ugd/599879_fc6383a4af6c4817b2297aa1a083e666.pdf
5 Analysis of the Potential for the State Road 836 Expansion to Affect the Comprehensive Everglades Restoration

Plan, Thomas Van Lent, 6/18/2019


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2008 and currently lacks a specific timeframe for construction and engineering, it is still on track
for implementation.6 The restudy called for a change of course and a “conveyance concept” project
was presented to concentrate land acquisition on the western part of Bird Drive Basin, which was
approved by the SFWMD in resolution No. 2012-511:

A RESOLUTION OF THE GOVERNING BOARD OF THE SOUTH FLORIDA WATER
MANAGEMENT DISTRICT ACCEPTING THE FORMULATION FINDINGS AND
RECOMMENDATION OF THE LEADERSHIP OF THE U.S. ARMY CORPS OF ENGINEERS
JACKSONVILLE DISTRICT AND THE STAFF OF THE SOUTH FLORIDA WATER
MANAGEMENT DISTRICT REGARDING THE BIRD DRIVE RECHARGE AREA PLAN;
ACKNOWLEDGING THAT DISTRICT STAFF WILL COORDINATE WITH THE
DEPARTMENT OF INTERIOR TO RECONCILE OBLIGATIONS UNDER LAND AND
WATER CONSERVATION FUND GRANTS WITH RESPECT TO CERTAIN PARCELS
WITHIN THE BIRD DRIVE BASIN AND SOLICIT IDEAS FOR POSSIBLE INTEGRATION
OF DISTRICT OWNED LANDS INTO OTHER REGIONAL PROJECTS; DIRECTING
DISTRICT STAFF TO COORDINATE WITH OTHER STAKEHOLDERS TO SOLICIT IDEAS
FOR OTHER PROJECTS WITHIN THE REGION; PROVIDING AN EFFECTIVE DATE.

To our knowledge, no further action, including meeting all the benefits described in CERP or
satisfying the above highlighted language above has been completed by the SFWMD. The
development of this multi-lane highway would constitute a permanent decision that directly
impacts up to 500 acres of wetlands and will only worsen our ability to expand the spatial extent
of wetlands within the east coast buffer area. Many of these lands are encumbered by federal grant
obligations for conservation and there is no mitigation elsewhere that would deliver the same
benefits.

Impacts to other CERP components and Everglades Projects

This project would also impact the following CERP components as listed in the Yellow Book7:
V (L-31N Improvements for Seepage Management), FF (S-356 Structures), BB (Dade/Broward
Levee/ Pennsuco Wetlands), S/EE (Central Lake Belt Storage Area), XX (North Lake Belt Storage
Area), YY and ZZ. Component V involves the extension of the L-31 N canal along an altered
course. The road would intercept the east west running portion of the L-31 N canal and either
preclude its use or minimize its effectiveness. All of the other project components previously
mentioned either rely in whole or in part on the successful implementation of component V.8



6 SFWMD, Bird Drive Basin-Background and Current Status. April 30, 2012.
7 "Final Integrated Feasibility Report and Programmatic Environmental Impact Statement (PEIS) for the Central and

Southern Florida Project, Comprehensive Review Study" (Yellow Book), April 1999
8 Potential Hydrological Effects of the Proposed 836 Extension on Everglades Restoration (CERP) and the Miami-

Dade Consumptive Use Permit (CUP) for the M-D West Wellfield, Christopher McVoy, Ph.D.
June 19, 2019




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         Taken from: "Final Integrated Feasibility Report and Programmatic Environmental Impact Statement (PEIS)
   for the Central and Southern Florida Project, Comprehensive Review Study" (Yellow Book), April 1999, Appendix A4,
            Alternative D13R, Bird Drive Basin and L-31N Seepage Management, Component Map 7 (pg. A4-59)

The proposed road would also impose on the Pennsuco wetlands north of Tamiami Trail. The
Pennsuco wetlands and the BDRA are important components of the East Coast Buffer. The
wetlands of the East Coast Buffer provide a boundary between the wetlands of Everglades National
Park and the urban core of Miami-Dade and Broward Counties. This buffer is critical to seepage
management, groundwater recharge, and wetland protection.

The SFWMD has acquired land in the Pennsuco wetlands area using a myriad of state and federal
funding sources, in addition to funding from developers seeking off-site mitigation. On October
25, 2017, the District acquired an additional 1,100 acres within the Pennsuco wetlands via Lake
Belt Mitigation funds, bringing approximately 86% of the 12,732 acre Pennsuco wetlands into
public ownership.

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Alternatives

Under 40 C.F.R. § 230.12(a)(3)(i-iv), 404 permits may not be issued if: (i) there is a practicable
alternative which would have less adverse impact and does not have other significant adverse
environmental consequences, (ii) the discharge will result in significant degradation, (iii) the
discharge does not include all appropriate and practicable measures to minimize potential harm,
or (iv) there is insufficient information to make a reasonable judgment as to whether the proposed
discharge will comply with the Corp's Guidelines for permit issuance.9

Practical alternatives exist to this project, and the applicant has not adequately studied or reported
these alternatives. The only alternatives explored by MDX were a limited number of alternative
road corridors – twelve out of thirteen of which bisect the BDRA. The applicant has failed to
sufficiently explore hybrid alternatives which use existing infrastructure in combination with
improvements and transit. Only one alternative inside the UDB was evaluated and it was
determined as being the most effective way to solve traffic congestion. However, MDX deemed it
infeasible because of cost and displacement of existing infrastructure. MDX failed to review real
public transit alternatives that would effectively service the existing built environment but has
instead chosen an alternative that would incite urban sprawl next to a critical CERP project
footprint. We feel that is because the applicant (MDX)’s primary focus is on building expressways
and it relies on collecting toll revenues. Therefore, MDX did not adequately vet all transportation
alternatives to solve the stated traffic problem. The only viable option is the no action alternative
because it (1) does not interfere with a federally-funded project (CERP), (2) is not contrary to
USACE guidelines, and (3) forces mass transit to become a priority in Miami-Dade County.

No Action Alternative

In a white paper written on behalf of the Transit Alliance Miami, Walter Kulash, a transit and
development expert, concludes that there is no demonstrated need for the SR 836 expansion.
According to The Corridor Evaluation Traffic Technical Memorandum prepared on behalf of
MDX, of 112 segments of major arterial and collector streets examined in the traffic study area,
only thirteen failed to meet Miami Dade County CDMP multi-mode level of service standards
with a volume to capacity ratio of less than 1.20 in either the AM or PM periods. Overall, the
Traffic Technical Memorandum failed to show a sufficient current or future need that justifies
MDX’s proposal for a new multi-lane toll highway.

MDX proposed highway project does not provide the right solution to traffic needs. Studies show
that expanding highways creates more traffic over time, not less.10,11,12,13 The Kulash report
estimates that ten years after the 836 extension opens, the daily vehicle count of induced traffic


9 40 C.F.R. § 230.12(a)(3)(i-iv).
10 Goodwin, Phil. Empirical evidence on induced traffic. Transportation. February 1996, Volume 23, Issue 1, pp 35–

54
11 Milam et al., ‘Closing the Induced Vehicle Travel Gap Between Research and Practice’, Transportation Research

Record: Journal of the Transportation Research Board, 2017, DOI 10.3141/2653-02
12 Litman. Generated Traffic and Induced Travel Implications for Transport Planning. Victoria Transport Policy

Institute, 2017
13 Schwager, Diane. ‘Consequences of the Development of the Interstate Highway System for Transit’. Transit

Cooperative Research Program Sponsored by the Federal Transit Administration RESEARCH RESULTS DIGEST.
August 1997. http://onlinepubs.trb.org/onlinepubs/tcrp/tcrp_rrd_21.pdf

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will be four times greater than the reduction in traffic on the arterial streets that the extension was
designed to alleviate. In other words, the induced traffic would be far greater than the intended
traffic reduction.14 As such, a ‘No Action’ alternative remains the best alternative not only for the
health of the Everglades, but also for traffic conditions and congestion reduction on Miami-Dade
County’s roadways.

Transit Alternative

The Kulash report goes on to describe a plan for solving the traffic issues alluded to via major
transit improvements along SW 137th Avenue, between SW 136th Street and NW 12th Street.
This transit extension would constitute a reasonable extension of Miami Dade County’s Strategic
Miami Area Rapid Transit (SMART) plan. This plan would result in far greater reduction in
vehicle miles traveled and improve traffic services in the area in question far more effectively than
the road extension.15

In spite of the viability of this alternative – which achieves county traffic goals while protecting
the federal investment in CERP – this alternative has not been fully vetted by the applicant. We
believe it is premature to grant a 404 wetland fill permit on this project before other reasonable
alternatives have been thoroughly considered.

Road Alternatives

The Miccosukee Tribe of Indians has consistently indicated that the proposed roadway would have
a detrimental impact on adjacent tribal resources. As such, the Tribe has promoted a road
expansion alternative that would not impact tribal land or resources and that may have lesser
impacts on the Everglades system and ongoing Everglades restoration projects. This alternative
would involve linking the SR-836 to the recently widened Krome Avenue via an elevated highway,
which makes use of existing infrastructure. This alternative would facilitate vehicle traffic while
minimizing wetland degradation and negative impacts to the BDRA.

Insufficiency of the interlocal agreement

Much of the supposed protections that MDX has offered for wetland resources are derived from
an interlocal agreement, not actual Comprehensive Development Master Plan (CDMP)
amendments. An interlocal agreement is a wholly inappropriate tool to use in order to ensure that
obligations for ensuring there are no conflicts with CERP projects. At a minimum, these
protections would need to be ensured within the four corners of the CDMP in order to be
considered legitimate and enforceable. A simple majority of the Miami-Dade County Commission
can change the details of the interlocal agreement very easily whereas a CDMP change would
require a supermajority from the Commission.




14 Selected Traffic and Transit Issues SR 836 Extension Dade County, Florida, Walter Kulash, Miami Transit

Alliance, 12/24/2018
15 Ibid.


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Conclusion

The United States of America and the State of Florida have invested hundreds of millions of dollars
to protect and restore Everglades National Park through implementation of CERP. Indeed, the U.S.
Army Corps of Engineers is a close restoration partner facilitating the planning, construction, and
operations of key restoration projects. The proposed SR 836 as offered by MDX represents a
significant threat to the viability of CERP components that are essential to supplying clean water
to the Everglades and protecting Miami-Dade County’s water supply. The member organizations
of the Everglades Coalition strongly urge you to deny this permit application on the virtue of its
negative impacts on CERP – especially given that there are a number of viable alternatives that
have not been fully vetted by the applicant which would eliminate the significant detrimental
impacts of the current proposal.

Sincerely,




                Mark Perry                                 Marisa Carrozzo
                Co-Chair                                   Co-Chair




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                         Attachment F
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                                                 Everglades Coalition
1000 Friends of Florida
                                                                                   Sent Via Email
Angler Action Foundation                     June 24, 2020
Audubon Florida
Audubon of Southwest Florida
Audubon of the Western Everglades            Office of Governor Ron DeSantis
Audubon Society of the Everglades            State of Florida
Backcountry Fly Fishers of Naples
Calusa Waterkeeper                           The Capitol
Cape Coral Friends of Wildlife               400 S. Monroe St.
Center for Biological Diversity
Conservancy of Southwest Florida             Tallahassee, FL 32399-0001
Defenders of Wildlife                        governorron.desantis@eog.myflorida.com
“Ding” Darling Wildlife Society
Earthjustice
Environment Florida                          Re: Miami-Dade County SR-836 Extension Proposal Ruling
Everglades Foundation
Everglades Law Center
Everglades Trust                             Dear Governor DeSantis and members of the Florida Cabinet:
Florida Bay Forever
Florida Conservation Voters Education Fund
Florida Defenders of the Environment         On behalf of the 61 member organizations of the Everglades Coalition1 committed to the
Florida Keys Environmental Fund
Florida Native Plant Society
                                             protection and restoration of America’s Everglades, we write to you to ask you to uphold
Florida Oceanographic Society                the recent ruling by Administrative Law Judge Suzanne Van Wyk, which held that the
Friends of the Arthur R. Marshall            proposed expansion of Miami-Dade’s SR-836 tollway demonstrated inconsistency with
Loxahatchee National Wildlife Refuge
Friends of the Everglades                    Everglades restoration efforts, is inconsistent with Miami-Dade County’s Comprehensive
Hendry-Glades Audubon Society
International Dark-Sky Association,
                                             Development Master Plan, and is inconsistent with state law. The proposed 6 lane toll road
FL Chapter                                   would snake 14 miles outside of Miami-Dade County’s Urban Development Boundary. It
Izaak Walton League of America               would impact water quality and disrupt fragile ecosystems and natural resources on the
Izaak Walton League Florida Division
Izaak Walton League Florida Keys Chapter     Miami-Dade County periphery, which the State has invested significant resources toward
Izaak Walton League Mangrove Chapter         protecting and preserving for the benefit of all Floridians. We urge you to uphold your
Lake Worth Waterkeeper
Last Stand                                   record as champions of Florida’s Everglades, protect the State’s investments, and put an
League of Women Voters of Florida            end to the ill-fated campaign that violates state planning law, threatens our Everglades, and
Martin County Conservation Alliance
Miami Pine Rocklands Coalition               would not provide meaningful benefits to Florida residents.
Miami Waterkeeper
National Audubon Society
National Parks Conservation Association
                                             Judge Van Wyk arrived at two clear findings in her order: First, the project’s planning did
National Wildlife Refuge Association         not adequately consider potential for negative impacts to Comprehensive Everglades
Natural Resources Defense Council
North Carolina Outward Bound School
                                             Restoration Plan projects and goals; nor did the County receive an adequate determination
Ocean Research & Conservation Association    by the South Florida Water Management District that the project would not compromise
Peace River Audubon Society                  the goals of CERP. The failure of the county to obtain an adequate determination is
Reef Relief
Sanibel-Captiva Conservation Foundation      particularly concerning in light of the South Florida Water Management District’s ongoing
Sierra Club                                  plans to construct a CERP project component in the Bird Drive Basin, which the road
Sierra Club Florida Chapter
Sierra Club Broward Group                    bisects. Second, the billion-dollar project itself is not an appropriate reaction to
Sierra Club Calusa Group                     transportation data, and would elicit only meager mobility improvements in the target area
Sierra Club Central Florida Group
Sierra Club Loxahatchee Group                and virtually no improvement for commuters. Testimony from the county’s own experts
Sierra Club Miami Group                      revealed that drivers would shave a mere 6 minutes off a two-hour commute as a result of
South Florida Audubon Society
Southern Alliance for Clean Energy           this project’s implementation2. The County CDMP requires that it shift the travel mode
The Florida Wildlife Federation              from single occupancy vehicle to mass transit3, and yet no data or analysis proves that the
The Institute for Regional Conservation
The National Wildlife Federation             mass transit option listed in the Plan Amendment would actually be used.
Theodore Roosevelt Conservation
Partnership                                  1
                                               Abstaining from the Everglades Coalition on this matter were Tropical Audubon Society and
Tropical Audubon Society
                                             Friends of the Everglades.
                                             2
                                               Trial Tr. TAS et al v. Miami-Dade County, Fla. DOAH Case No. 2018-5695GM. Vol. 12,
                                             1881:11-1882:15, July 26, 2019
                                             3
                                               Miami-Dade Comprehensive Development Master Plan, Policy MT-7C

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This project would exert an outsized negative impact on state investments4, freshwater resources, ecological
resources5, and would negatively impact CERP6. The County fell far short of meeting its burden to prove
that the tollway would be consistent with Everglades restoration; and it adopted the tollway amendment
despite the South Florida Water Management District’s claim that the County had not proved the
amendment would not cause harm.

The project has also encountered significant criticism at the Federal level. The Federal Government is
Florida’s partner towards the shared goal of Everglades restoration under CERP, and has invested
significant resources towards future projects in the area in question. The office of Florida Senator Marco
Rubio has criticized the project on a number of occasions, and the U.S. Department of the Interior and the
U.S. Environmental Protection Agency have both expressed their concerns with the proposed project. The
U.S. EPA claims the tollway would “incur substantial and unacceptable consequences for the Everglades
as a whole”7.

The EPA went on to say that the area “plays a critical strategic role in the overall plan for restoration of the
southern Everglades.” As you are aware, South Florida’s water-related dilemmas are playing out in real
time for both its residents and its wildlife. The Judge found that the new tollway “creates a risk of
contamination to the wellfield” and that the Plan Amendment violates the County’s requirement to “protect
and enhance” wellfields. The Plan Amendment is also inconsistent with the County’s requirement to protect
the Pennsucco wetlands, an area designated as critical habitat for the threatened and endangered species
that is protected by the CDMP.

For all of the problems it creates, the tollway doesn’t solve the problem for which it was created. The Judge
found that “Not only [did] the data reveal that the improvements in West Kendall, congestion would be …
‘meager,’ …they provide no support for a finding that the Plan Amendment will … improve the commute
time to downtown and other employment centers.”8

The Judge’s summation of the proposal was apt: “commuters will drive 13 miles, outside of the UDB,
through active agricultural lands, through environmentally-sensitive lands, and through the West Wellfield,
only to connect with the existing expressway operating at [a level of service] lower than it operates at
today.”9 Placing this tollway outside of the UDB is inconsistent with the very intent of the UDB, and the
proposed tollway, unfortunately, would harm rather than help the people, land, water, and wildlife it would
literally and figuratively touch.

We need not convince you of the Everglades’ paramount importance to the health and prosperity of Miami-
Dade and our state as a whole, and the vital role it plays in so many of our state affairs, from public health
to drinking water to tourism. Making the choice to move against this proposal is a straightforward, common-
sense decision to protect Floridians from the echoing impacts of a poorly executed plan.

There is no ideal time to engage in a project that offers unproven benefits at the cost of proven harms. It is
time to declare an end to this pursuit, and instead turn our attention to proven solutions. When Miami-Dade
recovers from the struggles our entire country is facing, a host of alternative infrastructure improvements
await, offering the prospect of faster, more convenient, more affordable commutes. We need not spend
taxpayer dollars and years navigating thorny legal waters for what would garner a weak return on
4
  Department of the Interior Letter
5
  McVoy Dep. 31:21-31:20, June 24, 2019, TAS et al v. Miami-Dade County, DOAH Case No’s 2018-5695GM, 2018-5696GM)
6
  McVoy Dep. 31:21-31:20, June 24, 2019, TAS et al v. Miami-Dade County, DOAH Case No’s 2018-5695GM, 2018-5696GM)
7
  August 2019 Letter from EPA to USACE
8
  State of Florida DOAH Order Case No. 18-5695GM p. 56
9
  State of Florida DOAH Order Case No. 18-5695GM p. 44


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investment for Floridians. We urge you to recognize the illusory appeal of this proposal as just that—an
idea initiated with good intentions, but ultimately not in Florida’s best interest.

While the tollway’s purported benefits reflect what Miami-Dade’s residents rightfully desire—less time
spent idling in standstill traffic—this proposal has ultimately painted a picture of a panacea that, sadly, is
no more than a mirage. Miami-Dade invested considerable amounts of time and money into pursuing this
project, and the truth remains: This road would have negative consequences for the Everglades, for Miami-
Dade, and for the state of Florida.

We understand the appeal of the project, and believe that the County had the best interests of its community
at heart. When one weighs the costs against the benefits, however, it is clear that this simply does not pan
out as a solution to Miami-Dade’s problems. We trust that each of you, as proven advocates for the
Everglades and pragmatic decisionmakers, will choose to uphold the Judge’s ruling and close this chapter,
making way for new projects that will benefit and protect us all.

Sincerely,




                Mark Perry                                   Marisa Carrozzo
                Co-Chair                                     Co-Chair
CC:

Shane Strum, Chief of Staff
Shane.Strum@eog.myflorida.com

Erin Sumpter, Director of Office of Cabinet Affairs
Erin.Sumpter@myfloridalegal.com

Ashley Moody, Attorney General of Florida
ashley.moody@myfloridalegal.com

Nicole “Nikki” Fried, Commissioner of Florida Department of Agriculture & Consumer Services
Nikki.Fried@FDACS.gov

Jimmy Patronis, Chief Financial Officer of Florida
CFO.Patronis@myfloridacfo.com




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